      Case 2:04-cr-00017-NJB-SS     Document 1630       Filed 06/23/11    Page 1 of 140




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA
UNITED STATES OF AMERICA                         CRIMINAL ACTION

VERSUS                                           NO. 04-17

JOSEPH SMITH                                     SECTION “C”
                                        OPINION
I.       BACKGROUND
         a   The AAMR/AAIDD & DSM‐IV‐TR Definitions of Mental Retardation
         b.  The Expert Witnesses

II.      ANALYSIS
         a.  Factor One: Significantly Subaverage Intellectual Functioning
             1.     Smith’s IQ Scores
             2.     Criticism of IQ Scores by Dr. Hayes
                    i.      Malingering and Bias
                    ii.     Other Testimony
             3.     The Court’s Finding re: Smith’s Intellectual Functioning

         b.    Factor Two: Significant Limitations in Adaptive Functioning
               1.     Retrospective Diagnosis
               2.     Clinical Judgment in Adaptive Functioning Assessment
               3.     Dr. Swanson’s Adaptive Functioning Assessment
                      i.     Adaptive Probes
                      ii.    VABS-II and ABAS-II Scores
                      iii.   Questions re: Dora Smith’s Credibility
                      iv.    Criticism of Dr. Swanson’s VABS-II and ABAS-II Scores
                             A.      Norming
                             B.      Bias and Inconsistent Answers
               4.     Dr. Hayes’ s Adaptive Functioning Assessment
                      i      Discipline Issues Unrelated to Mental Deficits
                      ii.    Clinical Interview
                      iii.   Use of Correctional Officers as Respondents
                      iv.    Drug Use and Brain Injury/Truancy
               5.     School, Job Corps, U. S. Navy and Employment Records
                      i.     Elementary and High School
                      ii.    Job Corps
                      iii.   U.S. Navy
                      iv.    Employment History
               6.     The Court’s Finding re: Smith’s Adaptive Functioning
         c.    Factor Three: Age of Onset

                                             1
   Case 2:04-cr-00017-NJB-SS        Document 1630      Filed 06/23/11   Page 2 of 140




III.   CONCLUSION

APPENDIX A
Additional Findings re: Dr. Swanson’s Adaptive Behavior Assessment
APPENDIX B
Additional Examples re: Dr. Hayes’ Interview
APPENDIX C
Additional Findings re: Dr. Hayes’ Adaptive Behavior Assessment



       This matter comes before the Court on pre-trial determination whether the

defendant, Joseph Smith (“Smith”) is mentally retarded for purposes of Atkins v.

Virginia, 536 U.S. 304 (2002) and the Federal Death Penalty Act, 18 U.S.C. §

3596(c ).1 An evidentiary hearing was held on June 7-10, 2010, and the matter
was taken under advisement. Having thoroughly considered the record, the

evidence and testimony adduced at trial, and the law, the Court now issues its
opinion.
       I. BACKGROUND

       Smith faces four counts contained in the Second Superseding Indictment
pertaining to his role in a 2004 attempted bank robbery and death of a bank
security officer.2 Two of those counts are capital.3 Smith asserts that he is

mentally retarded and is therefore ineligible for the death penalty under Atkins and

§ 3596(c). This issue will be determined before trial by the Court without a jury.

       1
       Section 3596(c) provides in relevant part: “A sentence of death shall not be
carried out upon a person who is mentally retarded.”
       2
        Rec. Doc. 157.
       3
        Rec. Doc. 161.
                                               2
  Case 2:04-cr-00017-NJB-SS      Document 1630       Filed 06/23/11   Page 3 of 140



Smith has the burden of proof by a preponderance of the evidence.
      a.     The AAMR/AAIDD & DSM-IV-TR Definitions of Mental
             Retardation

      Mental retardation is a developmental disability, the definition of which the

Court derives from the two sources recognized by the Supreme Court in Atkins:

The American Association on Mental Retardation (“AAMR”), now known as the

American Association on Intellectual and Developmental Disabilities (“AAIDD”),
as of January 1, 2007, and the American Psychiatric Association (“APA”). At the

time of the hearing, Smith was 59 years old.

      Because the timing of the various expert evaluations, opinions and the
hearing involving this defendant spanned the transition between two versions of

the relevant AAMR/AAIDD definitions from two sequential manuals, the Court’s
analysis will involves both. The AAMR defines mental retardation in the 10th
edition of its standard reference work as follows:
      Mental retardation is a disability characterized by significant
      limitations both in intellectual functioning and in adaptive behavior as
      expressed in conceptual, social, and practical adaptive skills. This
      disability originates before age 18.

MENTAL RETARDATION DEFINITION, CLASSIFICATION, AND SYSTEMS OF SUPPORTS

1 (2002) (“AAMR 10TH EDITION”).4 In 2007, ROBERT L. SCHALOCK, ET AL,

      4
       The AAMR definition is accompanied by five assumptions:

      1. Limitations in present functioning must be considered within the
      context of community environments typical of the individual’s age
      peers and culture.
      2. Valid assessment considers cultural and linguistic diversity as well
      as differences in communication, sensory, motor and behavioral
      factors.
                                          3
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 4 of 140



USER’S GUIDE: MENTAL RETARDATION DEFINITION, CLASSIFICATION AND
SYSTEMS OF SUPPORTS—10TH EDITION 18 (AAIDD 2007) (“USER’S GUIDE”) was

published for use in conjunction with the AAMR 10TH EDITION, pertaining to “the
condition currently referred to as mental retardation (MR) or intellectual
disabilities (ID)” and with the advice that “throughout the User’s Guide, both

mental retardation (MR) and intellectual disabilities (ID) will be used to reflect the

national and international use of these terms.” As of the time of the hearing in
June 2010, the AAIDD had published the most recent manual, INTELLECTUAL

DISABILITY DEFINITION, CLASSIFICATION, AND SYSTEMS OF SUPPORT, 51–52
(2010)(“AAIDD 11TH EDITION”). For purposes of completion, that definition
provides:

      Intellectual disability is a disability characterized by significant
      limitations both in intellectual functioning and in adaptive behavior as
      expressed in conceptual, social, and practical adaptive skills. This
      disability originates before age 18.5

Because the Supreme Court issued its decision in Atkins prior to the most recent

publication and change of terminology by the AAIDD, the Court will use the term



      3. Within an individual, limitations often coexist with strengths.
      4. An important purpose of describing limitations is to develop a
      profile of needed supports.
      5. With appropriate personalized supports over a sustained period, the
      life functioning of the person with mental retardation generally will
      improve.
AAMR 10TH EDITION at 13; USER’S GUIDE at 3. The AAIDD 11TH EDITION’s
includes the same five assumptions, with the term “intellectual disability”
substituted for the term “mental retardation” in the last assumption.
      5
       AAIDD 11TH EDITION at 1.
                                          4
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 5 of 140



“mental retardation” throughout this opinion when referring to the term intellectual

disability as used in the AAIDD 11TH EDITION.
      The definition and diagnostic criteria for mental retardation of the APA is
contained in its standard reference work, the DIAGNOSTIC AND STATISTICAL

MANUAL OF MENTAL DISORDERS, FOURTH EDITION TEXT REVISION (2000)

(“DSM-IV-TR”). It provides in relevant part that a diagnosis of mental retardation
requires:

      A.    Significantly subaverage intellectual functioning: an IQ of
            approximately 70 or below on an individually administered IQ
            test (for infants, a clinical judgment of significantly subaverage
            intellectual functioning).
      B.    Concurrent deficits or impairments in present adaptive
            functioning (i.e., the person’s effectiveness in meeting the
            standards expected for his or her age by his or her cultural
            group) in at least two of the following areas: communication,
            self-care, home living. Social/interpersonal skills, use of
            community resources, self-direction, functional academic skills,
            work, leisure, health and safety.

      C.    The onset is before age 18 years.6
      The DSM-IV-TR categorizes mental retardation as mild, moderate, severe,
and profound, with a residual category of “mental retardation, severity

unspecified.”7 Mild Mental Retardation is associated with an IQ of 50–55 to
70–75,8 and the DSM-IV-TR further describes it as follows:

      6
       DSM-IV-TR at 49.
      7
       Id. at 42–44.
      8
       According to the DSM-IV-TR:
      Borderline Intellectual Functioning describes an IQ range that is
      higher than that for Mental Retardation (generally 71–84). . . . [A]n IQ
                                         5
   Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 6 of 140



       Mild Mental Retardation is roughly equivalent to what used to be
       referred to as the educational category of “educable.” This group
       constitutes the largest segment (about 85%) of those with the disorder.
       As a group, people with this level of Mental Retardation typically
       develop social and communication skills during the preschool years
       (ages 0–5 years), have minimal impairment in sensorimotor areas, and
       often are not distinguishable from children without Mental
       Retardation until a later age. By their late teens, they can acquire
       academic skills up to approximately the sixth-grade level. During
       their adult years, they usually achieve social and vocational skills
       adequate for minimum self-support, but may need supervision,
       guidance and assistance, especially when under unusual social or
       economic stress. With appropriate supports, individuals with Mild
       Mental Retardation can usually live successfully in the community,
       either independently or in supervised settings.
DSM-IV-TR at 43.
       The American Psychological Association’s Division of Mental Retardation

and Developmental Disabilities (“Division 33”) echoes this point and further
elaborates:
              People classified with mild MR evidence small delays in the
       preschool years but often are not identified until after school entry,
       when assessment is undertaken following academic failure or
       emergence of behavior problems. Modest expressive language delays
       are evident during early primary school years, with the use of 2- to 3-
       word sentences common. During the later primary school years, these
       children develop considerable expressive speaking skills, engage with
       peers in spontaneous interactive play, and can be guided into play
       with larger groups. During middle school, they develop complex
       sentence structure, and their speech is clearly intelligible. The ability

       score may involve a measurement error of approximately 5 points,
       depending on the testing instrument. Thus, it is possible to diagnose
       Mental Retardation in individuals with IQ scores between 71 and 75 if
       they have significant deficits in adaptive behavior that meet the
       criteria for Mental Retardation. Differentiating Mild Mental
       Retardation from Borderline Intellectual Functioning requires careful
       consideration of all available information.

Id. at 48.
                                           6
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11    Page 7 of 140



      to use simple number concepts is also present, but practical
      understanding of the use of money may be limited. By adolescence,
      normal language fluency may be evident. Reading and number skills
      will range from 1st- to 6th- grade level, and social interests,
      community activities, and self-direction will be typical of peers, albeit
      as affected by pragmatic academic skill attainment. Baroff (1986)
      ascribed a mental age range of 8 to 11 years to adults in this group.
      This designation implies variation in academic skills, and for a large
      proportion of these adults, persistent low academic skill attainment
      limits their vocational opportunities. However, these people are
      generally able to fulfill all expected adult roles. Consequently, their
      involvement in adult services and participation in therapeutic
      activities following completion of educational preparation is relatively
      uncommon, is often time-limited or periodic, and may be associated
      with issues of adjustment or disability conditions not closely related to
      MR.
AM. PSYCHOL. ASS’N, MANUAL OF DIAGNOSIS AND PROFESSIONAL PRACTICE IN

MENTAL RETARDATION 17–18 (John W. Jacobson & James A. Mulick eds.,
1996)[hereinafter APA MANUAL].

      The Supreme Court in Atkins recognized that the two “official” definitions

of mental retardation are similar, but left to states the “task of developing
appropriate ways to enforce the constitutional restriction upon [their] execution of

sentences.” Atkins, 536 U.S. at 317. In doing so, it noted that:

      [C]linical definitions of mental retardation require not only
      subaverage intellectual functioning, but also significant limitations in
      adaptive skills such as communication, self-care, and self-direction
      that became manifest before age 18. Mentally retarded persons
      frequently know the difference between right and wrong and are
      competent to stand trial. Because of their impairments, however, by
      definition they have diminished capacities to understand and process
      information, to communicate, to abstract from mistakes and learn
      from experience, to engage in logical reasoning, to control impulses,
      and to understand the reactions of others. There is no evidence that
      they are more likely to engage in criminal conduct than others, but
      there is abundant evidence that they often act on impulse rather than
      pursuant to a premeditated plan, and that in group settings they are

                                           7
  Case 2:04-cr-00017-NJB-SS        Document 1630      Filed 06/23/11   Page 8 of 140



      followers rather than leaders. Their deficiencies do not warrant an
      exemption from criminal sanctions, but they do diminish their
      personal culpability.

Atkins, 536 U.S. at 318.

      The AAIDD recognizes that, with regard to persons with mental retardation

or intellectual disabilities in the criminal justice system,
      some criminal defendants fall at the upper end of the MR/ID severity
      continuum (i.e. people with mental retardation who have a higher IQ)
      and [they] frequently present a mixed competence profile.[9] They
      typically have a history of academic failure and marginal social and
      vocational skills. Their previous and current situations frequently
      allowed formal assessment to be avoided or led to assessment that was
      less than optimal.10
According to the AAIDD 11TH EDITION,11 the higher IQ mentally retarded are also

“more likely to mask their deficits and attempt to look more able and typical than

they actually are.” Moreover, “persons with ID typically have a strong
acquiescence bias or a bias to please that might lead to erroneous patterns of
responding.”12


      9
      As this Court previously noted, “[m]ost individuals with mental retardation
who commit criminal acts display mild mental retardation.” United States v.
Hardy, 762 F.Supp.2d 849, 854 (E.D.La. 2010) (quoting J.G. Olley & A.W. Cox,
Assessment of Adaptive Behavior in Adult Forensic Cases: The Use of the Adaptive
Behavior Assessment Systems-II, in ADAPTIVE BEHAVIOR ASSESSMENT SYSTEM:
ASSESSMENT AND APPLICATIONS FOR PROFESSIONAL AND PARAPROFESSIONAL
PRACTICE 381, 383 (P.L. Harrison & T. Oakland 2008)).
      10
          USER’S GUIDE at 18 (citations omitted).
      11
        AAIDD 11TH EDITION at 51-52. The fundamental principles relevant here
are present in both editions and both terms, so the Court will try to cite to both,
while recognizing the Supreme Court’s reference to “mental retardation” in Atkins.
      12
          Id. at 52.
                                            8
  Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 9 of 140



      b.      The Expert Witnesses

      This is the Court’s second Atkins determination. The first case involved

expert testimony from three of the four psychologists who testified at the hearing

in this matter.13 Hardy, 762 F.Supp.2d at 855-56.

      The only expert not to testify at the Hardy hearing, Marc L. Zimmerman,

Ph.D., was the first to testify at this hearing and was accepted by the Court as an

expert in the field of psychology without objection from the government.14
According to his curriculum vitae, he received his bachelor’s degree in psychology
from North Texas State University, a master’s degree in education from Out Lady
of the Lake University, master’s and doctorate degrees in psychology from Texas

A & M University - Commerce, and a masters degree in clinical
psychopharmacology from the California School of Professional Psychology.15
He received his Texas license in 1978 and his Louisiana license in 1979.16
According to his testimony, he has administered “[h]undreds, if not thousands” of

WAIS IQ tests during his career.17



      13
         As to those three witnesses, the parties here stipulated to the inclusion
herein of certain testimony from the Hardy hearing, a transcribed copy of which is
stored with the exhibits from this hearing. Rec. Docs. 1530, 1536. Included in that
stipulated testimony was testimony as to the respective qualifications of the three
experts. Rec. Docs. 1530, 1536.
      14
        Rec. Doc. 1583 at 15.
      15
        Deft. Exh. 3.
      16
        Id.
      17
        Rec. Doc. 1583 at 14-15.
                                          9
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 10 of 140



      The other three experts were recognized by the Court in Hardy as experts in

psychology, although their varied professional experience with the mentally

retarded was also discussed. The second expert, Victoria Swanson, Ph.D., was

called by the defendants at both hearings. According to stipulated testimony, Dr.

Swanson is a licensed psychologist who was accepted by the Court without

objection as an expert in mental retardation. She has specialized in the field of
mental retardation and developmental disabilities throughout her 35 year career.

She received her bachelor’s degree in psychology from the University of

Southwestern Louisiana in 1973 and then began working with the intellectually
disabled in rural Louisiana. Dr. Swanson received her master’s degree from
Northwestern State University in 1991, writing her thesis on the Vineland test, a

test of adaptive behavior. She has continued her work in the area of mental
retardation and received a doctorate degree in psychology in 1999 from Louisiana
State University. She is licensed in Louisiana.

      According to stipulated testimony, Dr. Swanson has either performed or
supervised approximately 6,000 assessments for mental retardation, and has
administered approximately 300 IQ tests a year, and estimated her career total

number of Vineland tests of adaptive behavior “in the 10,000s.”18 She estimated
that less than one percent of those assessments related to litigation in court, less

than that related to an Atkins determination and that she estimated that she has




      18
        Rec. Doc. 1530, att., tab 2 at 586-87; Rec. Doc. 1536.
                                           10
  Case 2:04-cr-00017-NJB-SS          Document 1630   Filed 06/23/11   Page 11 of 140



given opinions with regard to approximately 18 Atkins hearings.19 Numerous

awards and distinctions from the AAMR and AAIDD are included on her
curriculum vitae, and she has served as the President of the National Psychology

Division of the AAMR.20 As an expert in mental retardation, she does not work
primarily in the forensic field.21
      The third psychologist who testified, Jill S. Hayes, Ph.D., was called by the
government at both hearings.22 She was accepted without objection at this hearing

as an expert in forensic psychology as well as mental retardation.23 According to
stipulated testimony, Dr. Hayes received a bachelor’s degree in psychology from

Armstrong State College in 1990, a master’s degree in applied psychology from
Augusta State College in 1992, a master’s degree in clinical psychology from

Louisiana State University in 1995 and a doctorate degree in clinical psychology
with a specialty in neuropsychology and a minor in behavioral neurology from


      19
        Rec. Doc. 1530, att., tab 2 at 596; Rec. Doc. 1536; Rec. Doc. 1583 at 227.
      20
        See also Deft. Exh. 1.
      21
        Rec. Doc. 1583 at 190.
      22
        At this hearing, Dr. Hayes’ report was co-authored by John W. Thompson,
Jr., M.D., who did not testify and who was not otherwise qualified as an expert.
Dr. Thompson was also present at the videotaped interview of Smith. Govt. Exh.
42; Rec. Doc. 1584 at 405.
      23
        Rec. Doc. 1584 at 404. As indicated in the stipulated testimony from the
Hardy hearing, the Court accepted Dr. Hayes as an expert in the area of mental
retardation based on her publications, education, teaching and court experience
over the defendant’s objection at the Hardy hearing. Rec. Doc. 1530, tab 3 at 981-
82; Rec. Doc. 1536. It considered the defense objection as relevant to the weight to
be given her testimony regarding mental retardation, not its admissibility. Hardy,
762 F.Supp.2d at 856.
                                            11
  Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11   Page 12 of 140



Louisiana State University in 1998. She did a one-year internship at the Medical

University of South Carolina in 1997-1998, followed by a one-year fellowship at
Louisiana State University Health Sciences Center in 1998-1999. She is licensed

in Louisiana as a neuropsychologist and clinical psychologist, and is licensed as a

clinical psychologist in Arizona.
      Dr. Hayes’s stipulated testimony indicates that she has performed about 20

mental retardation assessments and ten Vineland tests since receiving her license in

1998. She identified at least five articles authored by her that involved some

aspect of mental retardation, three of which concerned malingering, at the Hardy

hearing.24
      The last psychologist, Mark D. Cunningham, Ph.D., was called by the

defendant and accepted by the Court as an expert in forensic and clinical

psychology at the Hardy hearing and as an expert in forensic psychology and

mental retardation evaluation at this hearing without objection.25 According to
stipulated testimony, Dr. Cunningham received his bachelor’s degree in

psychology from Abilene Christian College in 1973. He received his master’s and
doctorate degrees in clinical psychology from Oklahoma State University in 1976

and 1977, respectively. He had a clinical internship at the National Naval Medical
Center in 1977-1978, and participated in part-time post doctoral training at Yale

University School of Medicine between 1979 and 1981. He is licensed in sixteen


      24
        See also Govt. Exh. 42.
      25
        Rec. Doc. 1585 at 596.
                                         12
  Case 2:04-cr-00017-NJB-SS       Document 1630       Filed 06/23/11    Page 13 of 140



states including Louisiana, and he is board certified in clinical psychology and

forensic psychology by the American Board of Professional Psychology.
      Dr. Cunningham testified that he has performed many mental retardation

assessments in a forensic context, including determinations of competency to stand

trial, social security eligibility and for Atkins purposes, including testifying in

Atkins hearings once or twice.26 He has co-authored papers on mental retardation

issues in capital cases and has testified in federal capital cases.27
II. ANALYSIS

      As previously indicated, the Court is guided by the diagnostic criteria for
mental retardation developed by the APA and AAMR/AAIDD. Those criteria

contain three essential factors: significantly subaverage intellectual functioning,
significant limitations in adaptive behavior, and onset prior to age 18. Each will be
separately discussed.
      a.     Factor One: Significantly Subaverage Intellectual
             Functioning

      Intelligence is defined as “a general mental ability.”28 “It includes

reasoning, planning, solving problems, thinking abstractly, comprehending

complex ideas, learning quickly, and learning from experience.”29 The
determination of intellectual functioning and significant limitations is assessed by

      26
        Id. 1585 at 708.
      27
        See also Deft. Exh. 11.
      28
        AAMR 10TH EDITION at 51; AAIDD 11TH EDITION at 31.
      29
        AAMR 10TH EDITION at 51; AAIDD 11TH EDITION at 31.
                                           13
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11    Page 14 of 140



standardized instruments.30

      In general, the first criterion for a diagnosis of mental retardation requires
“significant limitations . . . in intellectual functioning,” or put another way,

“significantly subaverage intellectual functioning.”31 The APA and

AAMR/AAIDD define this to mean an IQ score approximately two standards
deviations below the mean of 100, taking into consideration the standard error of

measurement for the IQ test used.32
      Two standard deviations below the mean of the test relevant here would be a
score of 70. That is not, however, the cutoff score typically used, because the APA
and AAMR/AAIDD direct that the test’s measurement error must be taken into

account when interpreting its result.33 The AAMR/AAIDD has noted that the
standard error of measurement “which has been estimated to be three to five points

on well-standardized measures of general intellectual functioning” should be




      30
        AAMR 10TH EDITION at 51; AAIDD 11TH EDITION at 31.
      31
        AAMR 10TH EDITION at 1; AAIDD 11TH EDITION at 5; DSM-IV-TR at 49.
      32
       DSM-IV-TR at 41–42, 48–49; AAMR 10TH EDITION at 57–59; AAIDD 11TH
EDITION at 31.
      33
         AAMR 10TH EDITION at 57 (“The assessment of intellectual functioning
through the primary reliance on intelligence tests is fraught with the potential for
misuse if consideration is not given to possible errors in measurement.”). See also
AAIDD 11TH EDITION at 36 (“Understanding and addressing the test’s standard
error of measurement is a critical consideration that must be part of any decision
concerning a diagnosis of ID that is based, in part, on significant limitations in
intellectual function.”).
                                           14
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 15 of 140



considered, resulting in a range of scores with an attendant range of confidence.34
“Thus an IQ standard score is best seen as bounded by a range that would be

approximately three to four above and below the obtained score.”35
      There is also general agreement among the APA, AAMR and the testifying

experts in Hardy that a score of 75 should be used as the upper bound of the IQ

range describing mild mental retardation.36 The Court therefore again finds as a
factual matter that a diagnosis of mental retardation requires an IQ score of 75 or
less on one of the standard IQ tests.

      1.     Smith’s IQ Scores

      Both Dr. Zimmerman and Dr. Swanson administered the WAIS-III to Smith,




      34
          “This means that if an individual is retested with the
          same instrument, the second obtained score would be
          within one SEM (i.e., ± 3 to 4 IQ points) of the first
          estimate about two thirds of the time. . . . Therefore, an
          IQ of 70 is most accurately understood not as a precise
          score, but as a range of confidence with parameters of at
          least one SEM (i.e., scores of about 66 to 74; 66%
          probability), or parameters of two SEMs (i.e., scores of
          62 to 78; 95% probability). . .”
AAMR 10TH EDITION at 57 (citations omitted). See also AAIDD 11TH EDITION at
36.
      35
        AAMR 10TH EDITION at 57. See also AAIDD 11TH EDITION at 36.
      36
         DSM-IV-TR at 48; AAMR 10TH EDITION at 58–59; see, e.g., Bobby v. Bies,
129 S. Ct. 2145, 2149–50 (2009) (describing expert testimony that set the cutoff at
75); In re Hearn, 376 F.3d 447, 454 n.6 (5th Cir. 2004) (citing with approval the
AAMR’s definition). The Court notes that the AAIDD replaces establishing a
cutoff score, with the caution “given that the diagnostic process involves drawing a
line of inclusion/exclusion, it is important to use a range as reflected in the test’s
standard error of measurement.” AAIDD 11TH EDITION at 40.
                                          15
  Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 16 of 140



on October 28, 2004 and April 19, 2006, respectively.37 The WAIS-III was the

current version of the test at the time of each assessment, and consisted of two
general components or scales.38 The verbal scale in turn consisted of six subscales
or subtests, and the performance component consists of five subscales.39

Psychologists use IQ testing to measure intelligence and the WAIS-III is a gold
standard for this testing.40

       Both psychologists found Smith to have a Full Scale IQ of 67. In addition,
Dr. Zimmerman found Smith to have a Verbal IQ of 68, and a Performance IQ of

74.41 Dr. Swanson assessed Smith’s Verbal IQ at 67, and his Performance IQ at
73.42 The results were nearly identical as to the Verbal and Performance IQs and
were identical as to the Full Scale IQ. This alone supports the reliability of the

results.
       Assuming these scores are correct, they satisfy the first criteria for mental

retardation without correction for the Flynn Effect. The Court however finds the



       37
           Deft. Exhs. 1 & 3.
       38
        The WAIS-III also satisfies the AAMR/AAIDD that “intellectual
functioning should be measured using individually administered standardized
psychological tests and administered by appropriately trained professionals.”
AAMR 10TH EDITION at 52. See also AAIDD 11TH EDITION at 41; DSM-IV-TR at
41.
       39
           Deft. Exhs. 1, 3 & 4; Rec. Doc. 1583 at 16.
       40
           Rec. Doc. 1583 at 100-01; Rec. Doc. 1584 at 491.
       41
           Deft. Exh. 3.
       42
           Deft. Exh. 1 at 2.
                                           16
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 17 of 140



Flynn Effect should be applied to the WAIS-III scores.43 This produces a

corrected IQ score of 64-65.44
      The WAIS-III is made up of a number of different subtests. A chart was
introduced by the defense comparing Smith’s raw scores and standard scores on

eleven of the subtests from Dr. Zimmerman and Dr. Swanson’s administration.45

The raw scores are the actual scores achieved on each subtest; these are then
converted into standard scores which represent a range. For example, a raw score

of 7 or 8 on Picture Arrangement yields the same standard score of 7. A raw score

of 11 or 12 on Block Design yields the same standard score of 4.
      The raw scores Smith achieved on the two administrations of the tests were
remarkably consistent. For two of the subtests, the score was identical under Dr.

Zimmerman and Dr. Swanson, and six others have only a one digit difference.
This clustering of scores was even more pronounced when converted to standard
scores. With that conversion, Smith’s scores were identical for Dr. Zimmerman

and Dr. Swanson on five of the eleven subtests, with only a one digit difference on
five others. The only subtests where a greater disparity occurred was Vocabulary,


      43
        The Court’s analysis of the Flynn Effect and reasons for accepting it as a
valid correction are the same as those set forth in greater detail in Hardy, 762
F.Supp.2d at 857-63.
      44
       Deft Exh. 2 at 4; Rec. Doc. 1583 at 69-70; Rec. Doc. 1584 at 495; Rec.
Doc. 1585 at 678-79. The Court notes that Dr. Cunningham’s report calculated the
Flynn-corrected score at 62. Deft. Exh. 2 at 4.
      45
        Deft. Exh. 34. Dr. Swanson did not complete the WAIS-III with Smith,
not reaching the last three of the fourteen subtests. Hence the comparison is of the
eleven subtests both doctors completed. See also Rec. Doc. 1585 at 623-25.
                                         17
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11    Page 18 of 140



where Dr. Zimmerman’s standard score was a 6 and Dr. Swanson’s was a 4. But

even with that disparity, the difference was still within the standard error of
measurement, and therefore statistically insignificant.46 In addition, Dr.
Cunningham testified that the Vocabulary section of the test constituted only 9% of
the IQ score, with the other 91% of the results substantial similar, if not identical.47

Dr. Zimmerman testified that this consistency between test results indicates they
are an accurate measure Smith’s actual functioning.48 Dr. Swanson also testified

that this consistency indicated “inter-rater reliability between testers” which means
consistent effort on both tests.49 Finally, Dr. Cunningham likewise testified that
the consistency of the results, all the way down to the subtest standard scores,

indicate good effort and reliability.50
      2.     Criticism of IQ Scores by Dr. Hayes

      Dr. Hayes, nonetheless, found several aspects of the comparative IQ testing
to criticize which she asserted undermined their reliability. First, she pointed out

that Smith was unable to consistently repeat three digits backwards from memory
on one subtest, while he was able to reorder four and five digit letter combinations




      46
        Rec. Doc. 1583 at 20-21.
      47
        Rec. Doc. 1585 at 624-25.
      48
        Rec. Doc. 1583 at 22.
      49
        Id. at 70-71.
      50
        Rec. Doc. 1585 at 621-25.
                                           18
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 19 of 140



into a sequential order on another subtest.51 To put this in context, the Digit Span

recitation is part of the IQ test. A series of numbers are read to the individual and
they are to recite them back from memory, either in the same forward sequence, or

backwards, depending on the instructions. With Dr. Zimmerman, Smith was able

to recite up to five digits forward correctly, and just up to two digits backwards
correctly.52 With Dr. Swanson, Smith likewise was able to remember up to five

digits forward and again only two digits backwards.53 Since these are identical
results, the Court finds they indicate reliability. Dr. Hayes, however, chose to

compare these consistent scores on the Digit Span to results from a different test,

Letter-Numbering Sequencing, arguing inconsistency between them. As a

threshold, the Court questions the appropriateness of comparing the results of one
subtest with a different subtest and then arguing they are somehow inconsistent. It
is akin to the proverbial comparing of apples with oranges. Dr. Cunningham

testified persuasively that it is not accepted practice in the professional community

to compare answers to even the same question from one administration to another

since natural variations occur within the same person from test to test.54
       In any event, in the Letter-Numbering Sequencing subtest, the person is

read several numbers and letters and told to recite them back in the proper


      51
        Rec. Doc. 1584 at 423-24.
      52
        Govt. Exh. 36 at 9.
      53
        Govt. Exh. 35 at 7.
      54
        Rec. Doc. 1585 at 614-15.
                                          19
  Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11   Page 20 of 140



numbering order followed by the proper letter order. With Dr. Zimmerman, Dr.

Hayes stated that Smith was able to get three trials of four digit sequencing correct
and one out of three attempts at five digit sequencing.55 Dr. Hayes also testified
that Dr. William Gouvier administered the same test to Smith and Smith
successfully sequenced two of the four digit combinations and two of the five digit

combinations.56 The Court finds the comparison between Dr. Zimmerman and

Dr. Gouvier noteworthy because again Smith performed roughly the same between

the same two tests. The Court finds that Dr. Hayes’ comparison of different tests

highly questionable, and concludes that the consistency between the same test

administrations–Dr. Zimmerman and Dr. Swanson as to Digit Span and Dr.
Zimmerman and Dr. Gouvier as to the Letter-Number Sequencing–supports the
reliability of the testing.

       The next challenge Dr. Hayes had to the WAIS-III administrations dealt with

vocabulary. According to Dr. Zimmerman’s testing, when he asked Smith what a
ship was, Smith said it moves cargo and people from place to place on water.57
With Dr. Swanson, the response was “metal” followed by a pause, then something

inaudible and then an “I don’t know.”58 Since Smith had been in the Navy, Dr.

       55
         Rec. Doc. 1584 at 425.
       56
       Dr. Gouvier’s results were not offered as an exhibit by either the
government or the defense so the Court has no means of verifying the results, but
presumes them reliable based on Dr. Hayes’ representation. Dr. Swanson did not
administer this particular test. Govt. Exh. 35 at 10.
       57
         Govt. Exh. 36 at 3; Rec. Doc. 1583 at 43; Rec. Doc. 1584 at 426.
       58
         Govt. Exh. 35 at 1.
                                         20
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11    Page 21 of 140



Hayes thought his response completely illogical.59 She testified when she asked

Smith the same question during their lengthy interview, more specifically what
another name for a ship was, he correctly answered vessel.60 Dr. Hayes’
recitation of what happened during the interview, however, is significantly
truncated. During that interview, when she first asked Smith what a ship was, he

paused and said “What is a ship? A ship...how can I put this?” shaking his head,

followed by a long pause. The interview was interrupted by someone knocking on
the door. After the interruption, Smith suggested to Dr. Hayes that she ask him

another question.61 So she asked him a different question, but then returned a

short while later to the definition of a ship, specifically saying, “Now what is a

ship? What’s a ship mean? Or what’s another word for a ship?” Dr. Hayes
herself admitted that her prompting him for an alternative word for a ship is not
allowed on the WAIS-III.62 Smith nonetheless continued to struggle: “What’s the

other word for a ship?” And then finally said, “I don’t know. A vessel.”63 The
Court does not doubt that Smith knows what a ship is, but the whole purpose of



      59
        Rec. Doc. 1584 at 426.
      60
        Id. at 427.
      61
         This statement is not in the transcript of the interview but is clearly stated
in the video. Deft. Exh. 5 at 000356; Govt. Exh. 42, att. Disc 5 at 50:58.
      62
        Rec. Doc. 1584 at 529-30. Dr. Cunningham testified that Dr. Hayes’
idiosyncratic use of the WAIS items, without the standard instructions and with
impermissible prompts, was unacceptable in the scientific community. Rec. Doc.
1585 at 617-18.
      63
        Deft. Exh. 5 at 182, 000356.
                                           21
  Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11    Page 22 of 140



this hearing was to determine his level of intelligence and cognition. The fact that

a person who served in the Navy would still have difficulty defining a ship and
needed prompts to finally come up with even a hesitant answer is a significant

indicator of cognitive deficits. Dr. Hayes completely glossed over this in her

account, which calls into question both her qualifications and her credibility.
Additionally, the fact that Smith likewise struggled in defining a ship to Dr.

Swanson, who presumably administered the test correctly, without prompts,

reinforces this conclusion. And with regard to Dr. Zimmerman’s account, while
Smith gave a correct definition, it is unknown how long it took him to do so.
      Dr. Hayes also focused on two other “vocabulary” discrepancies between

Dr. Zimmerman’s testing and Dr. Swanson’s.64 The vocabulary subtest consisted
of some 25 items to define, of which Dr. Hayes picked out three to challenge.

However, the vast majority of the answers were consistent between the two tests,
again supporting reliability.65

      Dr. Hayes also highlighted one discrepancy in Smith’s responses in the


      64
         Rec. Doc. 1584 at 427. When asked by Dr. Zimmerman what “yesterday”
meant, Smith answered “the day before” whereas with Dr. Swanson, he said “past
tense, and with Dr. Hayes he said “a past day.” Dr. Zimmerman asked him the
meaning of “designate” and he said “a specific area or place” while with Dr.
Swanson he said he did not know. Govt. Exh. 36 at 4; Govt. Exh. 35 at 2; Deft.
Exh. 5 at 182, 000356.
      65
         Consistent answers on the two tests include the definition of “repair”(“to
fix”), “terminate” (“get rid of”), “consume” (“take in” and “take it all in”),
“confide” (“trust somebody” and “tell something you don’t want told to others”),
“compassion” (“feel for a person; sorrow” and “sympathize”) and “sanctuary”
(“place where go to meditate, be by self” and “safe place”). See Govt. Exh. 35 at
3-4; Govt. Exh. 36 at 1-2.
                                         22
  Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11   Page 23 of 140



subtest regarding “similarities.”66 When asked by Dr. Zimmerman how a table and

chair are alike, he correctly said that both were furniture, but when asked by Dr.
Swanson, he said they are both used for a purpose, then said he did not know.67
Regardless of how they might have been scored, both initial answers correctly
described how they were in fact similar. And, again, the remaining answers were

largely consistent on that subtest as well.68

      Under the Information subtest, Dr. Hayes found a discrepancy in the

response to who Martin Luther King was. With Dr. Zimmerman, Smith said he
was a black man while with Dr. Swanson, he said he was a freedom fighter.69 Dr.
Hayes, as did Dr. Zimmerman, considered the answer of a “black man” to be

unacceptable.70 Nonetheless, it was not an incorrect answer.
      Citing these individual examples, Dr. Hayes claimed it showed that Smith

was not responding consistently, even though she conceded that the discrepancies
were not of statistical significance.71 The Court concludes to the contrary. The



      66
        Rec. Doc. 1584 at 428.
      67
        Govt. Exh. 36 at 6; Govt. Exh. 35 at 4.
      68
        “Piano-Drum” were “instruments” & “make music”; “Orange-Banana”
were “fruit” on both tests; “Boat-Automobile” were “transportation” and
“transport”; “Steam-Fog” were “both smokey” and “cloudy.” And on both tests,
Smith was unable to identify how “Work-Play” were similar nor how “Egg-Seed”
were similar. Govt. Exh. 35 at 4; Govt. Exh. 36 at 6.
      69
        Govt. Exh. 35 at 7; Govt. Exh. 36 at 9.
      70
        Rec. Doc. 1584 at 428-29.
      71
        Id. at 429.
                                           23
  Case 2:04-cr-00017-NJB-SS        Document 1630    Filed 06/23/11   Page 24 of 140



overwhelming evidence is that Smith’s responses on both tests were entirely

consistent at every meaningful level. As Dr. Zimmerman testified, one should look
to the overall response pattern, which is reflected in the raw scores and the scale

scores, to assess consistency and reliability.72 Dr. Hayes’ idiosyncratic picking

apart of a few isolated responses to challenge the overall results was overreaching
and simply not credible.

      As further support for the reliability of the Dr. Zimmerman-Dr. Swanson

testing, their results are consistent with other IQ-related assessments of Smith’s
cognitive capacity. Unquestionably, as already noted, the WAIS-III is recognized
as a gold standard for IQ testing.73 Smith’s Full Scale Score of 67 was identical on
both Dr. Swanson’s and Dr. Zimmerman’s test and falls within the range of mild

mental retardation. In earlier years, while a student, Smith had taken two Otis IQ
tests, which are group administered, hence less reliable than individual testing but

nonetheless useful as corroboration.74 When Smith was in the 7th grade, at the age
of 13, he took an Otis Beta test which resulted in an IQ score of either 69 or 65 (the

IQ score is obscured).75 Either score falls into the mild mental retardation range.
This is also significant as supporting the third requirement for a diagnosis of


      72
          Rec. Doc. 1583 at 45.
      73
       Dr. Hayes concurs. Rec. Doc. 1584 at 491. See also Rec. Doc. 1585 at
625-26 (Dr. Cunningham).
      74
          Govt. Exh. 2 at 2 (bottom); Deft. Exh. 6 at 372 (bottom); Rec. Doc. 1583 at
100-01.
      75
          Rec. Doc. 1583 at 7-9.
                                          24
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 25 of 140



mental retardation - onset before the age of 18.76 In 1964, when Smith was 16

years old and in the 10th grade he took an Otis Gamma Test, scoring a numeric IQ
of 75 which was classified by the document as “boderline” (sic).77 With
consideration of the typical standard error of measurement for IQ tests, a score of
75 is the outer edge of mild mental retardation. While both of these tests were

group administered, they were done so in a school setting, which required certain

prior training and the following of proper protocols for administration.78 Prior to

entering the military, Smith took the Navy General Classification Test which
measures verbal intelligence.79 Smith scored a 34 of that test, which Dr. Hayes
indicated was at the 5th percentile, meaning 95% of the prospective enlistees who
took the test scored higher.80 Dr. Swanson testified that the GCT is not an IQ test
but it does highly correlate with IQ scores.81 She explained that the mean of the

test is 50 (as compared to 100 for an IQ test), with a standard deviation ranging

from 7.5 to 10, depending on which the military was using at the time, which
unfortunately could not be determined. This would place Smith’s score at least one
“and probably two” standard deviations below the mean.82 Two standard

      76
        Id. at 100-02.
      77
        Govt. Exh. 2 at 2 (bottom).
      78
        Rec. Doc. 1583 at 101.
      79
        Rec. Doc. 1585 at 626.
      80
        Govt. Exh. 42 at 22.
      81
        Rec. Doc. 1583 at 150, 153.
      82
        Id. at 150-51.
                                         25
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 26 of 140



deviations below the mean on an IQ test is in the mild mental retardation range.

Dr. Cunningham testified similarly, estimated the GCT score to be analogous to
either a 70 or a 76, depending again on the standard deviation in use at the time.83
      As Dr. Cunningham testified, all of these scores cluster within a range of 69
(possibly 65 on the Otis Beta) to perhaps a 76, dating back to when Smith was 13

years up through his 50's. All but the 76 are within the range of mild mental

retardation, which cuts off at 75.
      One more test must be considered. In 1977, after Smith was convicted of

robbery and sentenced to prison, his tested IQ was 93, which would be in the

average range, well distant from mild mental retardation.84 According to Dr.

Hayes, this was a Revised Beta Examination, which is a nonverbal test, akin to the

performance items of the WAIS, and used to quickly estimate IQ. She
acknowledged it was less reliable than a WAIS test.85 Dr. Swanson testified that

while the Beta is not a gold standard for IQ testing, it is usually good

corroborative information. Her concern about the validity of this particular test
was the institutional prison setting and whether the testing was actually properly
supervised so the results could be considered reliable.86 Since the results of that
test were so different from the cluster of the five other scores, she found it


      83
        Rec. Doc. 1585 at 629. See generally id. at 626-29.
      84
        Govt. Exh. 9.
      85
        Rec. Doc. 1584 at 445-46, 519.
      86
        Rec. Doc. 1583 at 117-19.
                                          26
  Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 27 of 140



suspicious, an “outlier.”87 Dr. Cunningham concluded likewise.88 The Court

agrees. The five other scores ranged from 65 or 67 to a possible high of 76 and
essentially bookended Smith’s life, beginning with three tests as a youth and

culminating in two gold standard tests in his 50's. They are all in the mild mental

retardation range, with the Navy GCT possibly on the cusp, depending on what the
standard deviation actually was.     The 93 from the Department of Corrections

stands in stark contrast, indicating to this Court that the test was not administered

with adequate supervision to assure the integrity of the results. The Court therefore
disregards it.89

       i.        Malingering and Bias
       Concurrent with Dr. Hayes’ claims of inconsistency between isolated items
on the two WAIS test administrations, she also contended that neither Dr.
Zimmerman nor Dr. Swanson adequately considered malingering or biased

responding by Smith.90 According to the DSM-IV, malingering should be
strongly suspected if any combination of the following are observed:

       1. Medicolegal context of presentation;


       87
            Id. at 119.
       88
            Rec. Doc. 1585 at 631, 641-43; Deft. Exh. 2 at 5.
       89
         Dr. Hayes cited a number of studies indicating that the Revised Beta
Examination correlates closely with various WAIS tests. Rec. Doc. 1584 at 446-
50. However, the relevance of those studies depends on the Texas Department of
Corrections score being a valid one. For the reasons stated above, the Court finds
it to be unreliable.
       90
            Govt. Exh. 42 at 19.
                                            27
  Case 2:04-cr-00017-NJB-SS      Document 1630        Filed 06/23/11   Page 28 of 140



      2. Marked discrepancy between the person’s claimed stress of disability and

the objective findings;
      3. Lack of cooperation during the diagnostic evaluation and in complying

with prescribed treatment regimen;

      4. Presence of Antisocial Personality Disorder.91

Obviously, in an Atkins situation, the context is medicolegal with potentially a life

or death consequence hinging on the outcome. Also, Dr. Hayes testified that Smith
showed traits of antisocial personality disorder.92
      On the other hand, Dr. Swanson in her report stated that Smith was

“cooperative during the testing and demonstrated good effort throughout the
throughout the assessment.”93 Further on, she elaborated that “Mr. Smith put forth
good effort. He worked to the time limit on timed subtests and gave maximum

time to untimed items. He often self-corrected in an effort to get a higher score.
The WAIS-III results appear to be a valid estimate of current cognitive

functioning...”94

      Dr. Zimmerman and Dr. Swanson both testified at the Atkins hearing and

made clear they did consider the possibility of malingering or biased responding

and found no evidence of it. Dr. Zimmerman was qualified as an expert in


      91
        DSM-IV-TR at 739.
      92
        Rec. Doc. 1584 at 408-09.
      93
        Deft. Exh. 1 at 2.
      94
        Id. at 3.
                                          28
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 29 of 140



psychology, with over thirty years experience, and testified that he has

administered “hundreds, if not thousands” of WAIS version IQ tests in his career.95
 Specifically, with respect to malingering or response bias, Dr. Zimmerman
testified that he administers these tests frequently, including for the Office of

Disability Determinations where people do attempt to malinger, and he considers

himself “pretty adept” at picking such people out. Having given so many such

tests, he has the “normative data” in his brain on how people typically respond
when they are misrepresenting themselves.96 For example, Dr. Zimmerman
testified that malingerers will frequently answer “I don’t know” to the questions, or

“I can’t do it” on the performance items, or will stop after several questions and
claim they can not do anymore.97 He did not see those patterns with Smith. As an
example of Smith’s effort, Dr. Zimmerman testified concerning a particular

performance subtest of the WAIS in which the person is asked to look at a series of
pictures and identify what is missing in the picture. The pictures become

progressively more complex, and the person has just 20 seconds to study and
identify what is missing in each successive one. In Smith’s case, he correctly
answered several simpler ones, then made mistakes on several more difficult ones,

but then answered correctly, but too late on even more difficult ones. Dr.

Zimmerman testified that this shows good effort, as Smith “doesn’t quit, he keeps


      95
        Rec. Doc. 1583 at 14-15.
      96
        Id. at 23-24.
      97
        Id. at 24.
                                          29
  Case 2:04-cr-00017-NJB-SS            Document 1630   Filed 06/23/11   Page 30 of 140



trying and trying” and “tries hard enough to get the correct answer” even though he

has run out of time.98 This parallels Dr. Swanson’s similar comment in her expert
report, already noted, that Smith worked to the time limit on the timed subtests and
gave maximum time to the untimed items.

      Dr. Zimmerman further testified that had he detected that Smith was not

putting forth his best effort, he would have called him on it. And if Smith had

continued to answer with “suboptimal effort,” Dr. Zimmerman would have given
him a malingering test and also noted his suspicions in his report.99 He did not

give any malingering test to Smith because he believed Smith put forth his best

performance. Dr. Zimmerman had “no question” that the WAIS-III results were a
valid and accurate measure of Smith’s IQ.100
      Dr. Swanson likewise testified that when she administered the WAIS-III to

Smith a year and a half later, she perceived him “giving a hundred percent” and
trying very hard to do well on the test.101 She pointed out that malingerers will

frequently give up early in a timed test, saying they do not know the answer, while

Smith would persist, asking for more time, even if the ultimate answer was
incorrect, or, if correct, came too late for her to give him credit for it.102 She saw


      98
        Id. at 24-25.
      99
        Id. at 31.
      100
           Id. at 32, 33, 37, 40-41.
      101
           Id. at 68-69, 72.
      102
        Id. at 72. Dr. Cunningham testified that deliberately slowing down on the
timed performance items would not be a good malingering strategy since it would
                                              30
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11    Page 31 of 140



no indication that Smith was deliberately trying to dial down his answers.103 She

also pointed out that someone trying to deliberately feign lesser ability on the first
test, not knowing a second test was coming over a year later, would have great

difficulty in trying to remember to feign in the same manner, considering all the

subtests involved.104

      On the other hand, both Dr. Swanson and Dr. Zimmerman acknowledged
that in Mississippi, the law requires that a malingering test be given in all

instances.105 Dr. Zimmerman testified that giving a specific malingering test
would have taken less than a minute to administer.106 In light of the seriousness of
this issue, and the brevity that such a test would take, the Court is disappointed that

neither Dr. Zimmerman nor Dr. Swanson choose to administer such a test in
connection with the WAIS-III.
      One of the defense psychologists, Dr. William Gouvier, did in fact

administer malingering tests to Smith. Dr. Gouvier was retained to assess Smith
for possible brain damage and did not administer an IQ test. However, he did
administer two malingering tests and the result indicated that Smith put forth good



create a suspicious disparity with the untimed verbal items; the items become
progressively more difficult, alerting the examiner to feigned responses on the
easier items. Rec. Doc. 1585 at 620-21.
      103
         Rec. Doc. 1583 at 71.
      104
         Id.
      105
         Id. at 32, 192.
      106
         Id. at 52.
                                          31
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 32 of 140



effort and was not malingering.107

      The Court concludes that Smith did not in fact malinger or evidence
response bias during the administration of Dr. Zimmerman’s or Dr. Swanson’s

tests. The Court comes to this conclusion in part out of deference to both Dr.

Zimmerman’s and Dr. Swanson’s vast experience in administering the test and
their clinical ability to spot subpar performance. They both testified emphatically

that in their judgment Smith gave full effort during the testing. More importantly,

the test results themselves, although a year and a half apart, were entirely
consistent with each other, not just in the final IQ assessment but in the scoring of
the subtests as well. Dr. Hayes attempted to discredit the results by picking out

isolated inconsistent responses, but her limited criticisms only underscored the
remarkable consistency between the two administrations.
      The Court must also point out one other concern it has with regard to Dr.

Hayes’ testimony. As discussed earlier, the Digit Span test is part of the WAIS-III
test. It is also significant as a so-called embedded measure to assess whether a

person is putting forth good effort.108 Dr. Cunningham testified that the Digit
Span test is where feigners frequently try to suppress their performance.109

Smith’s total score for the digit span on both tests was at the higher end, indicating


      107
          Id. at 141-43; Rec. Doc. 1584 at 506-10. Again, Dr. Gouvier did not
testify and his actual report was not made a part of the record by either the
government or the defense.
      108
         Rec. Doc. 1585 at 631-34.
      109
         Id. at 634.
                                          32
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11    Page 33 of 140



he was likely responding honestly.110 Dr. Cunningham further confirmed this by

comparing Smith’s Digit Span score to the Vocabulary Score, as feigners will
usually have a higher Vocabulary Score than Digit Span. In Smith’s case, the

score was the same on Dr. Zimmerman’s administration and for Dr. Swanson, the

Digit Span score was the higher one, a finding also contrary to feigning.111

      The Court finds disturbing that Dr. Hayes glossed over consideration of this
embedded measure, which indicated Smith put forth good effort. She did not

mention it on direct examination and when questioned on cross-examination, she

acknowledged the Digit Span test as an embedded measure used to assess effort,
she said she looked at his results on the two administrations, but acknowledged
she did not report on his level of effort.112 Her explanation for not reporting on it
was that for persons who may be in the mentally retarded range, the results are not

reliable.113 This, however, is a questionable explanation. Dr. Hayes is correct that

if a mentally retarded person does poorly on the Digit Span test, it may be a result

of deficient intelligence rather than feigning, hence the test results would be



      110
         Id. at 633-34.
      111
         Id. at 634-35. Worth noting is that Dr. Hayes took issue with the
discrepancy in the Vocabulary subtest score between the two WAIS-III
administrations. Dr. Cunningham testified that within the standardization groups
that took the test, with no incentive to malinger, 5% likewise dropped the same
amount in the vocabulary retest. Rec. Doc. 1585 at 615.

      112
         Rec. Doc. 1584 at 519-22.
      113
         Id. at 521-22.
                                          33
  Case 2:04-cr-00017-NJB-SS          Document 1630      Filed 06/23/11   Page 34 of 140



inconclusive.114 But since she did clearly look at Smith’s Digit Span performance,

as she used it to compare with his Letter-Number Sequencing, she had to have seen

that his score was at the higher end, indicating good effort. This failure, at a

minimum, reflects on her qualifications but also indicates a resistance, similar to

the “ship” episode already cited, to recognize evidence of cognitive deficits, which
undermines her credibility.

      Lastly, the Court is not persuaded that malingering tests are particularly

effective in populations suspected of possible mental retardation. The reason

should be obvious. If a person is genuinely mentally retarded, his responses may
be similar to a person of normal intelligence who is trying to feign mental

retardation. Dr. Cunningham testified that formal effort assessments have not
been standardized against a mentally retarded population, and Dr. Swanson

testified that formal malingering tests are not very reliable with persons in the
lower cognitive functioning range.115 Therefore, using those formal assessments
to determine malingering prior to first determining whether Smith is mentally

retarded in the first place in effect puts the cart before the horse.

      ii.       Other Testimony

      Dr. Hayes did not herself administer an IQ test.116 She stated that the

      114
            Rec. Doc. 1585 at 631.
      115
            Id. at 611-13; Rec. Doc. 1583 at 71, 192.
      116
         Dr. Hayes testified she drew her conclusions as to Smith’s intellectual
functioning from his school, Job Corps, military, and prison records. Rec. Doc.
1584 at 432-34, 438, 441-42, 443. While the Court considers all of this data
relevant to the second prong of a mental retardation determination–adaptive
                                            34
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 35 of 140



Court’s requirement that the testing be video-taped caused her ethical problems.

She explained that the possibility that the questions would become public would
undermine the validity of future testing. She contended that even if the testing was

sealed and available only to the attorneys that was not good enough to assure

confidentiality.117 While the Court presumes Dr. Hayes’ ethical concerns are

genuine, the Court is not persuaded that her conclusion is a reasonable one. The
Official Position Statement of the National Academy of Neuropsychology, which

she referenced, counsels against “uncontrolled” test release, but goes on to suggest

as “potential resolutions....protective arrangements or protective orders from the
court.”118 Furthermore, in the summer of 2008, the next generation of WAIS IQ

testing became available–the WAIS-IV.119 The Atkins hearing was not until

almost a year later, in 2009. Dr. Hayes could have administered the older WAIS-

III during that interim period, the same test administered by Dr. Zimmerman and
Dr. Swanson, since it had in effect become obsolete for future testing purposes.

      Two other points raised by Dr. Hayes need brief attention. In her report, she
included an analysis of Smith’s IQ based on demographic characteristics,120


behavior–the Court finds them no substitute for a properly administered IQ test,
which is a prerequisite for prong one.
      117
        Id. at 492, 493-94; Rec. Doc. 1585 at 576-79, 585-88.
      118
        Govt. Arts. 17, 18.
      119
        Rec. Doc. 1585 at 581.
      120
        Andres Barona, Cecil R. Reynolds & Robert Chastain, A Demographically
Based Index of Premorbid Intelligence for the WAIS-R, 52 J. CONSULTING &
CLINICAL PSYCHOL. at 885 (1984)[hereinafter Barona Study]. Although a copy of
                                         35
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 36 of 140



coming up with an IQ in the Average range.121 Dr. Cunningham testified that the

lowest possible score a 59 year old black man could receive–“(e)ven if he’s been
hospitalized and is in a coma his whole life”–was a 73.9.122 When asked if this
figure was correct, Dr. Hayes resisted conceding it, but ultimately could not deny it
since it is an objectively calculable finding.123 She did acknowledge that the

Barona formulas are less accurate in the lower ranges of intelligence and that the
formula has a “pretty large standard of error.”124 That is an understatement as Dr.

Cunningham estimated the standard of error to be plus or minus 20 points. In
Smith’s case, that would mean that there was a 95% likelihood of his IQ being
between 50 and 95, which is essentially meaningless as a calculation. The Court

has rejected this imputation based on the Barona Study from Dr. Hayes before, and
does so again.125

      In addition, Dr. Hayes testified at the hearing to an extrapolation of IQ based
on data from an unscored neuropsychological test, the Wechsler Memory Scale

(“WMS-III”), which had been administered by Dr. Gouvier.126 She testified that


this study was not offered for inclusion in this record, it was included in the Hardy
record. See Hardy, 762 F.Supp.2d at 878.
      121
         Govt. Exh. 42 at 26.
      122
         Rec. Doc. 1585 at 675-76.
      123
         Rec. Doc. 1584 at 530-34.
      124
         Id. at 531-32.
      125
         See Hardy, 762 F.Supp.2d at 878.
      126
         Rec. Doc. 1584 at 452-56.
                                         36
  Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 37 of 140



the manual allows for an extrapolation from IQ scores to predicted WMS scores,

and she testified that she simply did the reverse, producing from the WMS score an
implied predicted IQ of 91.127 When asked if this was a standard practice of
psychologists to do the reverse extrapolation, she thought that many would but she
did not know in fact if any actually did.128 Dr. Cunningham, on the other hand,

was able to shed light on the problem with Dr. Hayes’ reverse extrapolation.129 He

explained that the purpose of using an established IQ score to extrapolate to an
estimated score on the WMS is to determine if a person has an impaired memory

relative to his overall intelligence. An IQ score represents a broad range of

cognition. Memory is only one aspect of intelligence, and the WMS only covers
about one-third of what goes into an IQ score. The remaining two-thirds are not
memory related. So while it may well be appropriate to take a known IQ score to

predict whether that single factor of memory is impaired, it is not appropriate to
use that one single factor of memory capacity and backtrack to a full scale IQ. For
that reason, Dr. Cunningham stated emphatically that her reverse extrapolation was

not acceptable in the professional and scientific community.130 The Court agrees.
      3.       The Court’s Finding re: Smith’s Intellectual Functioning
      The issue of IQ should have been a non-issue in this case based on the clear


      127
           Id. at 456.
      128
           Id. at 538.
      129
           Rec. Doc. 1585 at 616-17, 735-36.
      130
           Id. at 616.
                                          37
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 38 of 140



guidelines of the APA and AAMR/AAIDD and the evidence. The Court finds that

all of the credible evidence lends full support to the WAIS-III scores, and that the
defendant has established well beyond a preponderance of the evidence that his

intellectual functioning is more than two standard deviations below the mean, with

or without correction for the Flynn Effect. The Court finds that Smith therefore
possesses significantly subaverage intellectual functioning as that term is used to

diagnose mental retardation. The Court now turns to the other criteria relevant to

this diagnosis.




      b. Factor Two: Significant Limitations in Adaptive Functioning



      The Court next considers whether Smith has proven that he exhibits the
significant limitations in adaptive functioning required for a finding of mental

retardation. That factor is defined as follows:
      Concurrent deficits or impairments in present adaptive functioning
      (i.e., the person’s effectiveness in meeting the standards expected for
      his or her age by his or her cultural group) in at least two of the
      following areas: communication, self-care, home living,
      social/interpersonal skills, use of community resources, self-direction,
      functional academic skills, work, leisure, health, and safety.131
The AAMR/AAIDD echoes this requirement: “significant limitations . . . in

adaptive behavior as expressed in conceptual, social, and practical adaptive




      131
         DSM-IV-TR at 49.
                                         38
  Case 2:04-cr-00017-NJB-SS      Document 1630       Filed 06/23/11    Page 39 of 140



skills.”132 Those two standards underpin what is referred to as the “adaptive

behavior” prong of the diagnosis of mental retardation developed by APA and
AAMR/AAIDD. The focus is on “‘how effectively individuals cope with common

life demands and how well they meet the standards of personal independence

expected of someone in their particular age group, sociocultural background, and

community setting.’” Wiley, 625 F.3d at 216 (quoting DSM-IV-TR at 42).

      The definition of this prong is less settled than that for intellectual

functioning.133 For IQ, the APA and AAMR/AAIDD are in substantial agreement
on the standard to be used: a score of 75 or below on one of the generally accepted

tests of intelligence. For adaptive behavior, the current version of the APA’s
guidance requires concurrent deficits in at least two of eleven relatively specific

areas of adaptive functioning.134 The AAMR/AAIDD takes a more holistic
approach and treats adaptive behavior as a global characteristic that finds

expression in three relatively abstract areas of functioning—conceptual, social, and
practical—and requires deficits in just one of these three general domains to reach
a finding of mental retardation.135 That is, “the three broad domains of adaptive
behavior in [the AAMR’s] definition represent a shift from the requirement . . . that

      132
         AAMR 10TH EDITION at 8; see also AAIDD 11TH EDITION at 6.
      133
         Since there has been no change in the guidance given by the APA and
AAMR/AAIDD in the interim, this definitional section for adaptive functioning is
largely duplicative of that set forth in the opinion issued by this Court in Hardy,
762 F.Supp.2d at 879-81.
      134
         See DSM-IV-TR at 49.
      135
         See AAMR 10TH EDITION at 13; AAIDD 11TH EDITION at 6.
                                          39
  Case 2:04-cr-00017-NJB-SS       Document 1630       Filed 06/23/11    Page 40 of 140



a person have limitations in at least 2 of the 10 specific skill areas listed in [the

AAMR’s] 1992 definition,” which was the model for the approach still used by the
APA.136 The AAMR/AAIDD moved away from that model because “[t]he three
broader domains of conceptual, social, and practical skills . . . are more consistent
with the structure of existing measures and with the body of research on adaptive

behavior.”137

      While these differences in definition are noteworthy, they encompass the

same range of behaviors. See Wiley, 625 F.3d at 216. Both the APA and the

AAMR/AAIDD direct clinicians to the same standardized measures of adaptive

behavior, such as the Vineland Adaptive Behavior Scales–II (VABS-II) and the
Adaptive Behavior Assessment Scale-Second Edition (ABAS-II).138 Still, as
evidenced by the DSM-IV-TR’s referral of clinicians to the AAMR’s instruments,

the AAMR/AAIDD has taken the lead in developing the guidelines for interpreting
the results of those tests. The Court finds it appropriate therefore to primarily rely

on the AAMR/AAIDD’s procedures for evaluating the defendant’s level of
adaptive functioning.139

      136
         AAMR 10TH EDITION at 73.
      137
         Id. at 73, 78; AAIDD 11TH EDITION at 43-45.
      138
        See DSM-IV-TR at 42; AAMR 10TH EDITION at 76–78; AAIDD 11TH
EDITION at 43-48. Referred to as the AAMR ABS, before the change in name, it is
now in a second edition, the ABAS-II.
      139
        See DSM-IV-TR at 42. This does not mean that the APA’s approach
deserves less weight, but only that the AAMR/AAIDD’s is better developed. The
APA devotes only two paragraphs to adaptive behavior in its standard reference
work and refers the reader elsewhere for information concerning the relevant tests;
                                           40
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11    Page 41 of 140



      The AAMR/AAIDD uses the following criteria for determining whether

someone has significant limitations in adaptive functioning:
      [P]erformance [must be] at least two standard deviations below the
      mean of either (a) one of the following three types of adaptive
      behavior: conceptual, social, or practical, or (b) an overall score on a
      standardized measure of conceptual, social, and practical skills.140

The AAMR/AAIDD repeatedly emphasizes that a diagnosis of significant

limitations should be made whenever a person has performed at least two standard
deviations below the mean in any of the three domains or in the total score.141
      A person is evaluated by using a standardized test, including the VABS-II

and ABAS-II.142 As with the tests of IQ, the scores on these tests for each domain,
as well as the overall score, must be evaluated in light of the standard errors of

measurement for the test.143 “If a person has a score that does not meet the cutoff
but is within one standard deviation of the cut-score, it is advised that the score be

reevaluated for reliability or the individual should be reassessed with another
measure.”144

      “The assessment of adaptive behavior focuses on the individual’s typical



the AAMR/AAIDD, on the other hand, devotes chapters to the concept and has
played a key role in developing the assessment instruments used.
      140
         AAMR 10TH EDITION at 14; AAIDD 11TH EDITION at 43.
      141
         See AAMR 10TH EDITION at 74, 76, 78; AAIDD 11TH EDITION at 43, 46-47.
      142
         See AAMR 10TH EDITION at 77, 87–90.
      143
         Id.; AAIDD 11TH EDITION at 47-49; USER’S MANUAL at 12-13.
      144
         AAMR 10TH EDITION at 79.
                                          41
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11    Page 42 of 140



performance and not their best or assumed ability or maximum performance. ...

This is a critical difference between the assessment of adaptive behavior and the
assessment of intellectual functioning, where best or maximal performance is

assessed.”145

      None of the generally accepted scales of adaptive behavior rely on direct
observation of the person nor upon his own self-report of what he is capable of

doing. Rather, the clinician is to gather adaptive behavior information from third

parties.146 In selecting the informants, it is “essential that people interviewed
about someone’s adaptive behavior be well-acquainted with the typical behavior of

the person over an extended period of time, preferably in multiple settings.”147
“Very often, these respondents are parents, older siblings, other family members,

teachers, employers, and friends.”148 “Observations made outside of the context of
community environments typical of the individual’s age peers and culture warrant

severely reduced weight.”149 The informants should also be asked to provide
information about the person’s day-to-day level of functioning, as well as data on

the amount of support the person needs in order to carry out any of the relevant




      145
         AAIDD 11TH EDITION at 47.
      146
         AAMR 10TH EDITION at 85; AAIDD 11TH EDITION at 47.
      147
         AAMR 10TH EDITION at 85; see also AAIDD 11TH EDITION at 47.
      148
         AAIDD 11TH EDITION at 47.
      149
         AAMR 10TH EDITION at 85; see also AAIDD 11TH EDITION at 47.
                                          42
  Case 2:04-cr-00017-NJB-SS        Document 1630    Filed 06/23/11    Page 43 of 140



functions.150


      2.        Retrospective Diagnosis151

      Unlike in a medical, educational, or social services context, the law is

concerned with what was rather than what is. The point of an Atkins hearing is to

determine whether a person was mentally retarded at the time of the crime and

therefore ineligible for the death penalty, not whether a person is currently

mentally retarded and therefore in need of special services. Because of this, the

diagnosis of mental retardation in the Atkins context will always be complicated by

the problems associated with retrospective diagnosis.
      These problems are only compounded by the fact that both the APA and

AAMR/AAIDD define mental retardation as a developmental disability and limit
the diagnosis to those persons who exhibited the required characteristics prior to
age 18. As those under the age of 18 are already constitutionally ineligible for the

death penalty, Roper v. Simmons, 543 U.S. 551 (2005), no clinician evaluating a

person for purposes of an Atkins hearing will ever be evaluating the person prior to

age 18. Mental retardation in the Atkins context, if it is to be diagnosed at all, must

therefore be diagnosed retrospectively.

      So, while the APA speaks of “[c]oncurrent deficits or limitations in present



      150
           AAMR 10TH EDITION at 74–75; AAIDD 11TH EDITION at 45, 47.
      151
        Again, this section is largely unchanged from that set forth in the opinion
issued by this Court in Hardy, 762 F.Supp.2d at 881-82.
                                             43
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11    Page 44 of 140



adaptive functioning,”152 it is clear that the assessment of mental retardation for

purposes of Atkins looks backwards—beyond even the time of the crime and back

into the developmental period.153 Certainly a person’s level of adaptive
functioning in the present might provide some information about his abilities
during the developmental period as a person without limitations in the present is

less likely to have had limitations before, and a person with limitations today is

more likely to have had them during the developmental period. But particularly
with the mildly mentally retarded, who tellingly used to be labeled the

“educable,”154 the AAMR/AAIDD has been clear that a person’s current strengths

and weaknesses are not the best evidence of the relevant facts in an Atkins

hearing.155



      152
            DSM-IV-TR at 49.
      153
         The concurrence of deficits in intellectual functioning and adaptive
behavior referred to in the DSM-IV-TR is best understood as meaning that, during
the developmental period, a person must exhibit deficits in both categories at the
same time. Understood that way, the language excludes from the diagnosis those
who, despite a low IQ, did not develop deficits in adaptive functioning until later
(or vice versa, for example if an injury causes a low IQ after the developmental
period). Even if a person’s level of adaptive functioning outside of the
developmental period were relevant, it is clear from Atkins that it would be the
level of adaptive functioning at the time of the crime, not the time of hearing, that
is relevant. See Atkins, 536 U.S. at 315–21; see also Pizzuto v. State, 202 P.3d 642,
648 (Idaho 2008) (“[Atkins prohibited] the imposition of a death sentence upon
offenders who are mentally retarded at the time of their crime.”).
      154
         DSM-IV-TR at 43.
      155
         See, e.g., AAIDD 11TH EDITION at 95–96 (relegating contemporary
assessment to a possible additional tool); id. at 46 (noting retrospective diagnosis
requires evaluation of subject’s “previous functioning”).
                                          44
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 45 of 140



       With IQ, which is a relatively stable, immutable trait,156 the problems

associated with retrospective diagnosis mostly disappear. Absent intervening
trauma or injury, a person’s IQ tested after the developmental period is likely to be

quite close to the IQ that would have been obtained had the person been tested

prior to age eighteen.157 The closest that retrospectivity comes to influencing the

IQ prong of the test is the Flynn Effect. But that phenomenon is an artifact of the
instruments used to assess intelligence, not a consequence of retrospective

diagnosis per se. Evaluating someone’s adaptive behavior, on the other hand, is

less stable even in theory, and difficult to assess in practice, and all the more so
when done retrospectively.
       The committee of the APA responsible for mental retardation, Division 33,

as well as the AAMR/AAIDD have developed guidelines to help clinicians

navigate the difficulties associated with retrospective diagnosis. The guidelines in
the AAIDD’s USER’S GUIDE are the most detailed. Relevant to adaptive behavior,
they direct clinicians to:

       (1) Conduct a thorough social history;

       (2) Conduct a thorough review of school records;


       156
      See, e.g., Rec. Doc. 1583 at 75; AAMR 10TH EDITION at 51–59; AAIDD
11 EDITION at 31–42.
  TH


       157
         See Gilbert S. Macvaugh III & Mark D. Cunningham, “Atkins v. Virginia:
Implications and Recommendations for Forensic Practice,” 37 J. OF PSYCH. & L.
131, 148, 151 (citing Caroline Everington & J. Gregory Olley, Implication of
Issues in Atkins v. Virginia, Defining and Diagnosing Mental Retardation,” Vol. 8
Forensic Psychol. Practice 1, 7 (2008) (Deft. Art. 1). This is not to say that
assessments of IQ, such as performance on an IQ test, may not vary. See id.
                                           45
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 46 of 140



       ....

       (6) Recognize that self-ratings have a high risk of error with regard to
       adaptive behavior;
       (7) Conduct a longitudinal evaluation of adaptive behavior; and

       (8) Not use past criminal or verbal behavior in assessing adaptive
       behavior.158

       In addition, the assessment of adaptive behavior should:
       (a) use multiple informants and multiple contexts; (b) recognize that
       limitations in present functioning must be considered within the
       context of community environments typical of the individual’s peers
       and culture; (c) be aware that many important social behaviors, such
       as gullibility and naivete, are not measured on current adaptive
       behavior scales; (d) use an adaptive behavior scale that assesses
       behaviors that are currently viewed as developmentally and socially
       relevant; (e) understand that adaptive behavior and problem behavior
       are independent constructs and not opposite poles of a continuum; (f)
       realize that adaptive behavior refers to typical and actual functioning
       and not to capacity or maximum functioning.159
Finally, the third-party respondents should focus on the defendant’s adaptive

behavior closest to the developmental period about which the informant is
confident discussing, and, whatever age it is, the examiner should log that age as
the date of the defendant’s functioning for purposes of scoring and comparison

with age-normed tables.160


       158
         USER’S GUIDE at 18-22. See also AAIDD 11TH EDITION at 46.
       159
          USER’S GUIDE at 20; see also AAIDD 11TH EDITION at 46. The AAIDD
11 EDITION did not include in the list the AAMR USER’S GUIDE factor “(e)”;
  TH

instead, that factor received separate discussion outside of the realm of
retrospective diagnosis as “Adaptive Behavior Versus Problem Behavior.”
AAIDD 11TH EDITION at 46, 49.
       160
         See, e.g., Rec. Doc. 1584 at 364, 417.
                                          46
  Case 2:04-cr-00017-NJB-SS        Document 1630   Filed 06/23/11   Page 47 of 140



      2.     Clinical Judgment in Adaptive Functioning Assessment
      The Court has previously noted how objective the first prong of the APA

and AAMR/AAIDDD assessments is–an IQ measured on a recognized
standardized test–as compared to the second prong, which relates to adaptive

behavior. The second prong involves significantly more subjective clinical

judgment. Hardy, 762 F.Supp.2d at 883. As noted by the Fifth Circuit, “The

assessment of adaptive functioning deficits is no easy task. Because its
conceptualization ‘has proven elusive,’ adaptive functioning ‘historically has been

assessed on the inherently subjective bases of interviews, observations, and

professional judgment.’” Wiley, 625 F.3d at 218 (internal citation omitted).

      This greater degree of subjectivity has two consequences. First, as the
degree to which a matter is left to an individual clinician’s judgment increases, so

does the degree to which the Court must rely on its assessment of the relative
competence and credibility of the individual experts to resolve disputes between

them. Second, as the need for clinical judgment increases, so does the opportunity
for disputes between clinicians.
      The defense and government experts are diametrically opposed with regard

to adaptive behavior, echoing the Court’s previous experience with Dr. Swanson

and Dr. Hayes in Hardy. Hardy, 762 F.Supp.2d at 884. Dr. Swanson found that

“Mr. Smith has substantial limitations in the areas of self-care, understanding and

use of language, learning, self-direction, capacity for independent living, and
economic self-sufficiency with evidence of onset prior to the age of 18 that meet


                                          47
  Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 48 of 140



the criteria for a diagnosis of Mental Retardation in DSM-IV-TR, the AAMR 10TH
EDITION and La.C.Cr.P. art. 905.5.1(H)(1),” and that Smith’s conceptual, social

and practical adaptive skills scores, as well as his overall score, were similarly
low.161 On the other hand, Dr. Hayes found “no significant adaptive functioning

deficits . . . [w]hen heroin use and legal difficulties are factored out of Mr. Smith’s

day-to-day functioning.”162 As in Hardy, the Court finds that such a drastic

disagreement from two experts in the same field can be attributed, in part, to the
relative subjectivity involved in the assessment of adaptive behavior, the fact that

the deficits of a mildly mentally retarded person are not extreme, and the varying

experience and competence of the experts called to testify. Hardy, 762 F.Supp.2d

at 884.


      3.       Dr. Swanson’s Adaptive Functioning Assessment



      i.       Adaptive Probes
      Dr. Swanson testified that she did some adaptive probes with Smith during
her interview with him on April 19, 2006.163 The probes were practical testing to

see what Smith could do and how long it takes him.164 She administered an


      161
           Deft. Exh. 1 at 5; Rec. Doc. 1583 at 223-24.
      162
           Govt. Exh. 42 at 45.
      163
           Rec. Doc. 1583 at 73.
      164
           Id. at 74.
                                          48
  Case 2:04-cr-00017-NJB-SS         Document 1630     Filed 06/23/11   Page 49 of 140



abbreviated version of the Kaufman Test of Educational Achievement-II (“KTEA-

II”), a gold standard in achievement testing, to assess and screen Smith’s
functioning with certain mathematics, reading and spelling skills.165 Dr. Swanson
found that his deficits outweighed his strengths, and that his current functioning
was the same as reflected in school and Job Corps records that indicate a 4th grade

mathematics level, meaning he had not improved in the ensuing years and
continued to qualify as mentally retarded in Functional Academics.166 She

testified that he was able to identify approximately 214 out of 220 sight or “Dolch”
words, which are words that children learn quickly by the 3rd grade. Children will,
however, commonly mix up the letters–saying “but” instead of “put,” but will grow

out of that tendency. She saw such reversals with Smith, unusual for his age, some
of which he self-corrected, some of which he did not. In addition, she found that
he reads so slowly that he forgets information, indicating reading comprehension

problems consistent with earlier records indicating a 3rd grade reading level.167



      ii.       VABS-II and ABAS-II Scores
      Dr. Swanson’s choice of respondents for her assessment of Smith’s adaptive




      165
         Id. at 75-76, 81-82. Dr. Swanson testified that she did not score the
KTEA-II for her report, but did forward the score sheet to Dr. Gouvier’s at his
request for his use as a “rough estimate” during his assessment. Id. at 78.
      166
            Id. at 80-82, 106-08.
      167
            Id. at 83-84; Rec. Doc. 1584 at 332-33.
                                           49
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 50 of 140



functioning was appropriate,168 albeit in a retrospective context. On May 15,

2006, she performed VABS-II assessments using Smith’s mother, Doris Smith, his
older sister, Nell Murray, and his younger sister, Patricia Smith, as respondents.169
Because Dr. Swanson determined that Smith’s mother did not have the 4th or 6th

grade reading ability required for the ABAS-II, that assessment was given to the

sisters only.170 Dr. Swanson testified that she does between twenty-five and forty

retrospective assessments per month and that approximately twelve per year
involve persons who previously had not been diagnosed as mentally retarded.171
      Dr. Swanson also testified that she did consider malingering, the possibility

that the family members would try to portray Smith as more impaired than he
really was. She interviewed the three separately172 and used two different
measures for two of them, in order to check for inter-relater as well as cross-relater

reliability.173 She acknowledged that the use of the ABAS-II and VABS-II in

retrospective assessments is controversial, and agreed with other experts in the




      168
       “Very often, these respondents are parents, older siblings, other family
members, teachers, employers, and friends.” AAIDD 11TH EDITION at 47.
      169
        Rec. Doc. 1583 at 132-33; Deft. Exh. 1 at 3-4.
      170
        Rec. Doc. 1583 at 131; Deft. Exh. 1 at 3-4.
      171
        Rec. Doc. 1583 at 127-28.
      172
         This was also confirmed by Tanzanika Ruffin, the defense paralegal who
was present when the interviews took place and confirmed that each was done
separately. Rec. Doc. 1586 at 833-35.
      173
        Rec. Doc. 1583 at 195-96.
                                          50
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 51 of 140



field that the results should be interpreted with caution.174 She also testified that

she had asked the defense team to find other reporters, such as teachers, coaches,
employers, but that effort was unsuccessful because Smith was over fifty years old

at the time of the offense.175

      An evaluation using the VABS-II involves an interview format and provides
standardized scores in four areas or domains of adaptive functioning,

communication, daily living, socialization, and motor skills, as well as an overall

standardized score, called the Adaptive Behavior Composite (ABC). Based on
family members’ responses, Dr. Swanson calculated the VABS-II scores for Smith
at age 17 as follows:176




      174
         Rec. Doc. 1583 at 245-47.
      175
         Id. at 234-37.
      176
         Deft. Exh. 1 at 3-4
                                          51
         Case 2:04-cr-00017-NJB-SS          Document 1630     Filed 06/23/11   Page 52 of 140




                                  Mother              Patricia                   Nell
 Age                              17-0-0               17-0-0                   17-0-0
 Domains/Subdomains         SS       Level      SS          Level        SS        Level
 Communication              64       Mild       63          Mild         67        Severe
  Receptive Language                 Low                    Low                    Low
  Expressive Language                 Low                   Low                Moderately Low
  Written Language                   Low                    Low                     Low
 Daily Living               69       Mild       68          Mild         69         Mild
  Personal                           Low                    Low                     Low
  Domestic                            Low             Moderately Low                Low
  Community                        Adequate           Moderately Low              Adequate
 Socialization              63       Mild       60          Mild         64         Mild
  Interpersonal Relations            Low                    Low                Moderately Low
  Play & Leisure Time                Low                    Low                     Low
  Coping Skills                      Low                    Low                     Low
 Motor Skills               100    Adequate     100      Adequate       100       Adequate
  Gross Motor Skills               Adequate             Adequate                  Adequate
   Fine Motor Skills               Adequate             Adequate                  Adequate
 ABC                        63       Mild       62          Mild         64         Mild

       The ABAS-II provides standardized scores in three adaptive domains, Conceptual,

Social and Practical Skills, that correspond to the AAMR/AAIDD and DSM-IV-TR
specifications, and also provides an overall estimate of adaptive functioning with a

Generalized Adaptive Composite (“GAC”) standard score, with a mean of 100 and

standard deviation of 15. Dr. Swanson calculated Smith’s ABAS-II Composite Scores




                                                52
            Case 2:04-cr-00017-NJB-SS     Document 1630              Filed 06/23/11      Page 53 of 140



for his level of adaptive behavior at age 17 as follows:177

                                         Patricia                                 Nell
 ABAS-II Composite Scores         Standard Score        Level   Standard Score        Level
 Conceptual                       63                    Mild    69                    Mild
 Social                           66                    Mild    68                    Mild
 Practical                        63                    Mild    75                    Moderately Low
 GAC                              58                    Mild    63                    Mild

         Smith’s adaptive functioning at age 17 in the ABAS-II skill areas indicate the

following with a mean of 10 and standard deviation of 3, according to Dr. Swanson:

                                        Patricia                                          Nell
ABAS - II                      Scaled    Level          Range         Scaled      Level              Range

Skill Areas                    Scores    in SDs                       Scores      in SDs
Communication                    3       -2.33           Low             4        -2.00               Low
Community Use                    4       -2.00           Low             6        -1.33          Moderately Low
Functional Academics             3       -2.33           Low             6        -1.33          Moderately Low
Home Living                      4       -2.00           Low             5        -1.67          Moderately Low
Health & Safety                  4       -2.00           Low             5        -1.67          Moderately Low
Leisure                          3       -2.33           Low             4        -2.00               Low
Self-Care                        2       -2.67           Low             5        -1.67          Moderately Low
Self-Direction                   4       -2.00           Low             3        -2.33               Low
Social                           4       -2.00           Low             4        -2.00               Low




                 177
                   Id. at 4.
                                                   53
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 54 of 140



      Based on the scores, Dr. Swanson found cognitive impairment prior to the

age of 18, that constituted Mild Mental Retardation.178 More specifically, she
found “substantial limitations in the areas of self-care, understanding and use of
language, learning, self-direction, capacity for independent living, and economic

self-sufficiency with evidence of onset prior to the age of 18.”179

      Dr. Swanson testified that she found the final test scores reliable for a
number of reasons. The scores from the respondents did not vary beyond one

standard deviation or 15 points, as required for statistical purposes and inter-relator

reliability.180 In fact, the VABS-II scores deviated no more than four points

between the respondents,181 and in several instances the scores were identical or
varied by only one point.

      Because of Dr. Hayes’ criticism, the Court undertook an independent
examination the VABS-II responses to evaluate consistency on individual
questions. For each question, four responses were possible: (2) usually performs

the behavior independently; (1) sometimes performs the behavior independently;
(0) never performs the behavior independently and (4) don’t know. Of the nearly
one hundred fifty (150) questions that all three respondents answered, 72% of their

answers were the same. Of the remainder, usually two scores were identical with

      178
         Rec. Doc. 1583 at 222.
      179
         Deft. Exh. 1 at 5; Rec. Doc. 1583 at 223.
      180
         Rec. Doc. 1583 at 135-36.
      181
       The widest discrepancy was Patricia’s score of 60 in Socialization
compared to Nell’s score of 64.
                                          54
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 55 of 140



a one level difference for the third. Dora and Nell’s scores were identical for 88%

of their answers; Dora and Patricia’s scores were identical for 77% of their answers
and Nell and Patricia were likewise identical for 77% of their answers. Again,

where a discrepancy occurred, it was usually no more than one ranking. A two

point discrepancy between the three scorers occurred only about a dozen times, or
about 8% of the total, and even in those instances, two of the respondents usually

concurred on a score, with the third being the outlier. This consistency strongly

supports the reliability of the tests and the conclusion that the respondents were not
deliberately exaggerating his deficits. Since none of the three women had ever
been asked these specific questions before, they had no opportunity to conspire in

advance to answer in the same way, yet their answers were in fact strikingly
consistent. Furthermore, a significant majority of the scores for all three was
category “2," which indicated the person could perform the function independently

most of the time. Were they attempting to exaggerate his deficits, the results
would likely have not been so positive on so many questions. Indeed, the adaptive

behavior scores on the three VABS-II, which ranged from 63 to 69, mirrored
Smith’s IQ assessment of 67, without correction for the Flynn Effect.182
      Dr. Swanson testified that the ABAS-II data was also fairly consistent within
the respondent, across the domains and between respondents.183 The Court

likewise found that on the ABAS-II, approximately 54% of the answers Patricia


      182
        Rec. Doc. 1584 at 377.
      183
        Rec. Doc. 1583 at 136-37.
                                          55
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 56 of 140



and Nell gave were identical, approximately 43% were a one level difference and

only 3% more than one level.
       As already noted, Dr. Swanson’s “conclusion, based on these adaptive

instruments, was that there was strong evidence to indicate that prior to the age of

18 there were adaptive deficits.”50



      iii.   Questions re: Dora Smith’s Credibility
      The government raised a serious challenge to the credibility of Smith’s

mother, Dora, based on a taped prison telephone conversation between Smith and
his mother on February 24, 2008. In this conversation, Dora Smith indicated her
willingness to lie on the stand at an upcoming hearing, on the advice of Smith’s

lawyer, Steven Lemoine, who she believed wanted to argue that Smith was
“cuckoo.”51 Dora Smith stated that Lemoine told her several times he was “for
Joseph,” not wanting to lose the case by lethal injection, which Dora Smith

construed as “[t]hat’s as good as to tell us we got to lie on the thing, you know.”
She said that “whatever he tells that whats me to say, I’m saying it you know.”

The disclosure of this recording caused the first Atkins hearing in this matter to be

canceled on March 6, 2008, in open court.52 The telephone call began with a




      50
        Id. at 138, 222.
      51
        Govt. Exh. 43 at 5-7 (2-24-08).
      52
        Rec. Doc. 756.
                                          56
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 57 of 140



recorded caution that “[t]his call is subject to monitoring and recording.”53

      Dr. Swanson administered the VABS-II to Dora Smith in May 2006, almost

two years before the “advice” from Lemoine to lie at the upcoming hearing, which

diminishes some of the impact the conversation with Lemoine may have had with

respect to Dora Smith’s previous answers on the VABS-II, despite the disturbing
references to toilet training issues both in those answers and during the recorded

conversation. Dr. Swanson testified that she reevaluated everything after hearing

the taped telephone conversation and concluded her original opinion was still

valid.54 As already discussed, Dora Smith’s VABS-II scores were very consistent
with the two other respondents. Nevertheless, the Court remains troubled by this

conversation and, in an abundance of caution, will set aside the VABS-III
administered to Dora Smith and assess whether the evidence was sufficient without
it to find Smith to have sufficient deficits to warrant a finding of Mild Mental

Retardation.
      The Court begins that process by observing that Dr. Swanson testified that
she had adequate data to give the same opinion even if the VABS-II of Smith’s

mother was totally disregarded.55 With respect to the remaining scores,
specifically Patricia and Nell’s VABS-II scores and both of their ABAS-II scores,

the Court finds them to be valid, consistent and reliable.


      53
        Govt. Exh. 43 at 1(2-24-08).
      54
        Rec. Doc. 1583 at 61-64, 259.
      55
        Rec. Doc. 1584 at 402-03.
                                          57
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 58 of 140




      iv.    Criticism of Dr. Swanson’s VABS-II and ABAS-II Scores
      A.     Norming

      The government argues that Dr. Swanson did not norm the tests for Smith at

age 17. Both the VABS-II and ABAS-II can be normed back to that age.56 Dr.
Swanson testified that she normed the scores for Smith at age 17 years. Identifying
the age is important as the same data yields a different adaptive behavior score at

different chronological ages.57 These differences are logical since adaptive
behavior is learned over a period of time. A person who cannot consistently do

certain things at age 17, that his same aged peers can do, such as make a bed, or
cook a simple meal, or follow basic instructions, might have a score in the mildly

mentally retarded range, but if he still had not learned to do those things by age 45,
his score would be even lower.
       Dr. Swanson testified that she sent Dr. Gouvier, at his request, the full raw

scores on the VABS-II and that the data was normed at 55 years, Smith’s true age
at the time.58 Dr. Gouvier was the neuropsychologist assessing Smith for possible
brain damage.59 Dr. Swanson repeatedly explained that the data was provided to


      56
        Id. at 334.
      57
        Id. at 340.
      58
        Id. at 341-43. The record is unclear as to whether Dr. Gouvier requested
only the raw data, and the calculations based on age 55 were sent as well, or
whether he requested the calculations at 55 as well.
      59
        Id. at 343.
                                          58
  Case 2:04-cr-00017-NJB-SS     Document 1630      Filed 06/23/11   Page 59 of 140



Dr. Gouvier for that different purpose and that she simply gave him what he

requested.60 The Court is satisfied with this explanation.
      The government also challenged certain erasure marks by Dr. Swanson on
the original VABS-II and ABAS-II forms, claiming they indicated that the

respondents were answering the questions at Smith’s current chronological age.

Dr. Swanson had originally written in pencil Smith’s then-current age of 55 on the

forms. She readily agreed that she later erased that number and put in 17-0-0.61

Dr. Swanson explained that at the time she gave the assessments, she logged in his
chronological age, as she had routinely done in the past. Subsequently, she

attended a number of conferences on how to handle Atkins issues, and learned that

she needed to make clear on the face of the protocol what norms were being used.

That information caused her to change the age on the forms to reflect that they

were normed at 17-0-0.62

      Most importantly, Dr. Swanson testified several times that she clearly

instructed each of the respondents to answer the questions as if Smith were 17
years old.63 This is supported by the testimony of Tanzanika Ruffin, who was the

      60
         Id. at 337-38, 342-43; 348-50. The Court also rejects the government’s
suggestion that Patricia and Nell, by affirmatively answering questions on the
ABAS-II about Smith’s employment, must have answering as if he were 55 years
old. Id. at 347. Even Dr. Hayes conceded that Smith had odd jobs as a teenager.
Id. at 477. At the time Patricia and Nell completed the ABAS-II, however, Smith
had been incarcerated several years and was obviously not employed.
      61
        Id. at 354-58.
      62
        Id. at 361-63.
      63
        Id. at 363-66; Rec. Doc. 1585 at 593-94.
                                         59
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11      Page 60 of 140




defense paralegal assigned to talk with the family members regarding mitigation,

who testified that she told the family members they would be meeting with Dr.
Swanson who wanted to “talk to them about Joseph’s past.”64 The Court is likewise

satisfied that each respondent was properly instructed.
      Dr. Swanson also acknowledged that she initially entered the scores into the

computer to be calculated at Smith’s chronological age of 55, and when the

computer generated the figures, she realized the mistake and corrected it by
changing the norm to age 17.65 The Court finds that this explanation likewise
satisfactory and credible, rendiering the initial mistake a nonissue.

      Dr. Hayes testified as to four reasons why it did not appear to her that the
ABAS-II and VABS-II assessments were normed at age 17 years and that they

should have been re-done.66 First, she noted that Dr. Swanson herself admitted
she initially entered his scores based on age 55, which placed Smith in the severe

range of mental retardation and apparently alerted Dr. Swanson to correct her
obvious error in entering the wrong age.67 Dr. Hayes’ second reason for
concluding the respondents were not answering the questions as if Smith were 17

years old was because they answered questions regarding checking accounts, and



      64
        Rec. Doc. 1586 at 833, 839-41.
      65
        Rec. Doc. 1584 at 366-67.
      66
        Id. at 418, 584-85.
      67
        Id. at 419.
                                          60
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11    Page 61 of 140




signing business forms and leases.68 However, Dr. Swanson instructed each

respondent that even if the person had not had the opportunity yet to perform the
behavior, they were still to estimate, based on his abilities, whether they thought he

had the capacity to do it.69 Both Patricia and Nell answered “never” on Smith’s

capacity to handle a checking account responsibly or manage his own money
through checks or money orders.70 On the ABAS-II, which is self-administered,
Nell answered “sometimes” to Smith’s ability to complete a form for business,
such as a lease, and Patricia answered “never.”71    In addition to Dr. Swanson’s
verbal instructions, the protocol of the ABAS-II itself states in bold letters: “Please

read and answer ALL items.”72 Patricia and Nell were doing what they were
instructed to do by both Dr. Swanson and the protocol in providing answers to all

the questions. However, their skepticism about their brother’s capacity to
complete a business form, such as a lease, was evident. Dr. Hayes’ third basis for
her conclusion that Patricia and Nell assessed their brother at his current age was

because Patricia and Nell completed the work section of the ABAS-II which they

      68
        Rec. Doc. 1585 at 568-69, 584.
      69
        Rec. Doc. 1583 at 207; Rec. Doc. 1584 at 369.
      70
        Deft. Exh. 1B at 69 (VABS-II Item 37, 41), 111 (same items). While the
Court has, in an abundance of caution, chosen to disregard Dora Smith’s VABS-II
in determining whether a finding of Mild Mental Retardation is appropriate, the
Court does note that she likewise answered “never” to the same items. Deft. Exh.
1B at 39.
      71
        Id. at 91 (Item 23), 134 (same item).
      72
        Id. at 88 (emphasis original).
                                          61
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 62 of 140




should not have, as he had not worked full-time.73 Again, the Court notes that this

is a self-administered test and the protocol instructs the respondent to answer

“ALL” questions, and the particular protocol on work mentions full or part-time

employment.74 Dr. Hayes was aware that Smith had odd jobs as a teenager.75 As
the final reason why Dr. Hayes testified that she believed the data was normed at
age 55 was because Dr. Swanson sent to Dr. Gouvier the raw data and the scores,

normed at 55, which has already been discussed.

      The Court finds Dr. Hayes’ criticisms to be largely speculative and non-
expert in nature. The Court agrees the erasures and initial norming errors raised
legitimate concerns about the validity of the scores, but Dr. Swanson’s explanation

put those concerns to rest. In fact, Dr. Hayes acknowledged that the tests, if
normed at 55, would indicate that Smith was either profoundly or severely
retarded.76 No one asserts that. On the other hand, she also agreed that if the
respondents did answer honestly regarding Smith’s capacities at the age of 17, that

the results correctly showed he was in the mild mental retardation range.77
      The Court concludes that Dr. Swanson properly instructed all three

respondents to answer the questions from the perspective of Smith at the age of 17,

      73
        Rec. Doc. 1585 at 588-89; Rec. Doc. 1584 at 367.
      74
        Deft. Exh. 1B at 96, 138.
      75
        Rec. Doc. 1584 at 477.
      76
        Rec. Doc. 1585 at 589.
      77
        Id. at 589-91.
                                         62
  Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11    Page 63 of 140




as she repeatedly testified. The results themselves are the proof in the pudding

since they placed Smith in a range consistent with his IQ scores. The Court finds
it inconceivable that Dr. Swanson, with her extensive history of administering

thousands of these tests, would suddenly “forget” that the third criteria is onset

prior to the age of 18, particularly in such a high-stakes capital case.



      B.     Bias and Inconsistent Answers

      In her report, Dr. Hayes challenges the choice of family members as

respondents, because of their vested interest in the outcome.78 Dr. Swanson
readily acknowledged that all three family members had an interest in the

outcome.79 She testified that she took steps to address this by separately
interviewing the respondents and administering two separate instruments to assess

inter-respondent reliability.80 The Court has already set forth its own findings of
the remarkable consistency in answers across all three respondents on the VABS-II

and the two respondents on the ABAS-II. Since none of the women had any
advance notice of what questions they were to be asked, their identical responses to

the vast majority of the questions supports their honesty and reliability. Also, as

already pointed out, had any of the three wished to deliberately downplay Smith’s


      78
        Govt. Exh. 42 at 19-20.
      79
        Rec. Doc. 1583 at 229.
      80
        Id. at 195-96. Dr. Hayes acknowledged that there are no malingering tests
for adaptive assessments. Rec. Doc. 1585 at 575.
                                          63
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 64 of 140




capacities, they would not have given him the highest score on the majority of the

questions, as they did. Likewise, had even one of them deliberately exaggerated
his disabilities, it would have shown in a marked deviation from the other two.

      Most of Dr. Hayes’ and the government’s criticism was focused on the

minority of answers where some discrepancy existed between the respondents.
Since hundreds of questions are involved in the VABS-II and ABAS-II, a

significant amount of time at the hearing was spent on isolated questions where

answers varied. The Court finds such variances to be insignificant except to
indicate that each of the respondents had their own unique perspective on Smith as
he was growing up. The Court has already highlighted the remarkable similarity

in answers between all respondents, despite their different perspectives, and agrees
with Dr. Swanson in this regard. Moreover, with so many questions being asked,
the issue is whether the outcome is statistically consistent, not whether an answer

varied on a particular question.81 However, because of the extended attention
spent on these alleged discrepancies, they are addressed in “ Appendix A,”

attached to this opinion.


      4. Dr. Hayes’ Adaptive Functioning Assessment


      Dr. Hayes’ opinion as to adaptive functioning was based on a similar



      81
        Rec. Doc. 1583 at 132.
                                         64
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 65 of 140




documentary data set as Dr. Swanson’s opinion along with Dr. Hayes’ semi-

structured interview of Smith.82 Dr. Hayes testified she asked to interview the
same family members that Dr. Swanson interviewed and was told that would not
be possible, although it was unclear who told her that.83 She did not speak to any

of Smith’s prior employers nor any of his friends. She said she tried to locate
school personnel from the 1970's but was told no one from that period was

available.84 Again, this is not surprising, considering Smith’s age at the time of the
offense.



      i. Discipline Issues Unrelated to Mental Deficits
      Dr. Hayes testified that much of Smith’s difficulties were the result of
behavioral misconduct rather than indicative of mental deficits. For example, she

cited his truancy from school as likely to be a behavioral deficit rather than an
academic deficit.85 She noted that Smith’s work records included references to

failing to follow instructions, being tardy or not showing up at all, and

insubordination, which she said could be lack of self-direction but also simply
antisocial behavior.86 Dr. Hayes likewise attributed Smith’s failure to complete the

      82
        Govt. Exh. 42 at 16.
      83
        Rec. Doc. 1584 at 545-46.
      84
        Id. at 546, 547.
      85
        Id. at 465.
      86
        Id. at 472-73.
                                          65
  Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 66 of 140




Job Corps program as a “discipline” issue rather than inability to do the work.87

Finally, she asserted that Smith’s failures in the U.S. Navy were unrelated to
mental retardation, but instead were again discipline issues.88 As will be discussed

later in this opinion, the Court finds that all of these so-called behavior problems
are equally consistent with a person with Mild Mental Retardation.



      ii. Clinical Interview
      Dr. Hayes testified that Smith did not “present himself as a person with
mental retardation” during the February 22, 2008, interview.89 She acknowledged
some mildly retarded people can hide their deficits, but said she is trained to be

alert to that circumstance. She claimed to have looked for evidence of mental
retardation during the lengthy interview, however, the only stated “deficit” she
discerned was that Smith was not up to date on current events.90 Citing other

sources, she concluded he was not good with grammar, spelling, or math.91 Her

report catalogued a series of Smith’s alleged strengths rather than any deficits.92
She testified, for example, that Smith “absolutely” had a “sophisticated

      87
        Id. at 479-80.
      88
        Id. at 485.
      89
        Id. at 459.
      90
        Id. at 458-59.
      91
        Id. at 459, 466.
      92
        Govt. Exh. 42 at 27-44.
                                          66
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 67 of 140




vocabulary.”93 The Court agrees that one of Smith’s strengths is that he has

learned several specific sophisticated words, such as “colleague,” “counteracting,”
“ultimatum,” “speculating,” and “forfeited.”

      The first noticeable aspect of the lengthy video is how slowly Smith

answered questions, and how often he had to pause before answering.94 The Court

discovered that his responses were so slow that the recording could actually be
accelerated to a higher speed during the second viewing, with his responses then

resembling what this Court considers a more normal conversational pace.

      Dr. Cunningham testified that Dr. Hayes went into the interview with an
assumption that Smith had intact intellect, and she did not adjust when his
responses indicated otherwise.95 Dr. Cunningham based this opinion on a number
of her interview techniques. First, while he noted she took an extensive history

from Smith, obtaining a great deal of objective factual data, she did not explore
issues that would show whether he had cognitive deficits. The Court agrees. For
example, Dr. Hayes asked Smith to name the places where he had lived over the

years, what jobs he had, and the names of his various siblings, but she did not
question him about how he arranged for his lodgings, or how he found jobs, or

how he managed his finances, or how he perceived various relationships, both

familial and otherwise, other than to elicit the response that he was close to his

      93
        Rec. Doc. 1584 at 459.
      94
        See also Rec. Doc. 1583 at 73.
      95
        Rec. Doc. 1585 at 644.
                                          67
  Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 68 of 140




mother.96

      Another reason Dr. Cunningham opined that Dr. Hayes assumed Smith’s
intellect to be normal was her use of multi-part compound questions.97 The Court

again agrees that many of the questions would be difficult for a person with normal
intelligence to answer. Dr. Cunningham illustrated this observation with reference

to a portion of the video interview in which Dr. Hayes told Smith that, with

reference to everyone in his family, she wanted to know their names, how old they
are, when they were born, what their relationship was to him, what they did for a
living, whether they had any mental health problems, or medical problems or

substance abuse problems, and whether they had ever been jailed.98 She then said,
“Let’s...start off with...your mama and daddy, tell me about them.”99 He
responded, “[w]hat do you want to know?”100 The compound question had clearly

gone over his head.101 Eventually Dr. Hayes provided Smith with a “cheat-sheet”

to remind him of the different data she wanted.102 In her report, Dr. Hayes made



      96
        Id. at 644-46; Deft. Exh. 5 at 18-19; Deft. Exh. 12 at 56.
      97
        Rec. Doc. 1585 at 646.
      98
        Deft. Exh. 5 at 8.
      99
        Id.
      100
           Id.
      101
        Rec. Doc. 1585 at 646-47; Deft. Exh. 5 at 8. Other examples were given
by Dr. Cunningham. Rec. Doc. 1585 at 647-49. See also Deft. Exh. 5 at 40-42.
      102
           Rec. Doc. 1585 at 648-49, 660-61; Deft. Exh. 5 at 21, 112.
                                          68
  Case 2:04-cr-00017-NJB-SS      Document 1630    Filed 06/23/11   Page 69 of 140




no mention of Smith’s difficulties with responding to these questions.103 Instead,

she testified that he was a “good conversationalist.”104 Dr. Swanson, on the other
hand, testified persuasively that when she asked Smith something, she would break
it down into simple steps, using simple language, and would ask it in more ways

than one, to make sure he understood.105 Dr. Hayes did not employ those

precautions.
      A further shortcoming of the interview, according to Dr. Cunningham and

with which the Court agrees, was Dr. Hayes’ failure to acknowledge Smith’s lack

of conciseness and clarity in some of his explanations, indicating disorganized
thought.106 At one point, Smith said that he liked to play marbles when he was a
child.107 Dr. Hayes appropriately asked him to explain how the game is played.
What followed was a convoluted description by Smith, with Dr. Hayes repeatedly

asking him additional questions because the explanation was so unclear.108 At the

Atkins hearing, however, Dr. Hayes testified simply that Smith “gave her a fairly


      103
        Rec. Doc. 1585 at 649.
      104
        Rec. Doc. 1584 at 458, 649.
      105
        Rec. Doc. 1583 at 255.
      106
        Rec. Doc. 1585 at 655.
      107
        Deft. Exh. 5 at 46-48.
      108
         Id. at 46-48. As Dr. Cunningham noted, “it takes him three pages to say
you thumb one of your marbles at the ones that are in the ring and if it knocks it
out you get to take that marble and you keep shooting until you miss.” Rec. Doc.
1585 at 657.
                                         69
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 70 of 140




good description of how to play marbles.”109 This was similar to Dr. Hayes’

truncated rendition of whether Smith was able to define a “ship” already discussed
under the IQ section of this opinion.110 A similarly jumbled explanation came

when Smith was asked to explain welding and welding tools, which finally ended
when Dr. Thompson stepped in to explain what Smith could not.111 The Court

agrees with Dr. Cunningham that Smith’s description of the one job he had
intermittently for about eight years was “surprisingly disorganized.”112 This is not
mentioned in Dr. Hayes’ accounting. On the other hand, Dr. Hayes did make a

point of noting the things Smith was able to explain well, such as crawfishing,
cleaning a bathtub, cooking smothered chicken and making a roux.113
      A significant criticism of Dr. Hayes’ interview technique according to Dr.

Cunningham, with which the Court also agrees, is that she failed to explore deficits
that Smith himself clearly acknowledged.114 For example, Smith volunteered he
had difficulty with English, spelling and math when he was in the Job Corps and as

a result did not complete the program.115 Instead of probing to find out what


      109
        Rec. Doc. 1584 at 470.
      110
        Deft. Exh. 5 at 182.
      111
        Id. at 93-97.
      112
        Rec. Doc. 1585 at 752.
      113
        Rec. Doc. 1584 at 462, 467; Deft. Exh. 5 at 82-83.
      114
        Rec. Doc. 1585 at 661-62; Deft. Exh. 12 at 86-87.
      115
        Deft Exh. 5 at 66.
                                         70
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11    Page 71 of 140




specifically he was struggling with, which would be relevant to the Functional

Academics prong of an adaptive behavior assessment, Dr. Hayes only asked if he
nonetheless received a certificate for welding, which he did not.116 Similarly,

Smith relayed to Dr. Hayes a litany of problems he had in boot camp in the U.S.
Navy with academic testing and “cloth folding,” relevant to Functional Academics

and Daily Living Skills, respectively, but she only asked him how long it took him

it took him to complete boot camp.117 She also failed to investigate his
determination to stay in the Navy despite all these difficulties.118

      The Court finds some of Dr. Cunningham’s criticisms were not well-

founded. Dr. Cunningham criticized Dr. Hayes for using words that Smith did not
appear to understand, but the Court found that Smith’s answers were reasonably

responsive to the questions, indicating he did understand.119 Likewise, Dr.
Cunningham claimed that Dr. Hayes ignored deficits in Smith’s specific

knowledge, such as not knowing the name of a pill he was taking, when his father
died or his father’s age at his death, how far his parents went in school, and the

      116
         Id. at 66.
      117
         Id. at 67-68.
      118
         Id. at 69.
      119
          Dr. Hayes asked Smith if his father had “mental health problems or any
difficulties with his nerves” and Smith related that his father and mother used to
fight a lot. Id. at 10. Later, Dr. Hayes asked Smith if his mother had any mental
health problems and specifically mentioned depression. Smith responded that his
mother did some things she probably was not proud of, specifically infidelity. Id.
at 15-16. Dr. Cunningham found these answers nonresponsive. The Court
disagrees.
                                           71
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 72 of 140




year of the birth of his numerous siblings, among other gaps in his memory.120

The Court, on the other hand, finds these gaps in specific knowledge to be normal
and unremarkable, and not indicative of any relevant deficit.

      Overall, the Court finds most of Dr. Cunningham’s criticisms to be well-

taken. In addition, the Court found other examples that even in the Court’s
admittedly lay opinion indicated cognitive problems that were unmentioned in Dr.

Hayes’ report and her testimony. A discussion of them is incorporated into

“Appendix B,” attached to this opinion.
      The Court concludes that Dr. Hayes, whether consciously or unconsciously,
participated in the interview with a predisposition to find Smith not cognitively

impaired. She overlooked significant indicators of deficits, while highlighting
only his strengths. As a result, her report and testimony drawn from the interview
did not give a full, accurate picture of Smith’s mental abilities. This may reflect

her relative inexperience in the mental retardation field, having only performed
about 10 formal adaptive behavior evaluations in her career. As Dr. Swanson

testified, Mild Mental Retardation is “one of the most difficult areas to
diagnose.”121



      iii. Use of Correctional Officers as Respondents
      Dr. Hayes had various correctional officers, at the jail where Smith was

      120
        Rec. Doc. 1585 at 654; Deft. Exh. 12 at 72-73.
      121
        Rec. Doc. 1530, tab 3 at 617; Rec. Doc. 1536.
                                          72
  Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11   Page 73 of 140




housed, fill out the ABAS-II with respect to Smith’s adaptive functioning. She

acknowledged that their contact with Smith was limited, but nonetheless provided
extensive examples of specific behavior of Smith purportedly observed by the

officers.122 Two correctional employees, Dr. Arthur Mauterer and Deputy Bobby

Magee, both of the Tangipahoa Parish Jail, also testified at the Atkins hearing.

      Dr. Swanson testified that the authors of the ABAS-II strongly recommend

against using correctional officers as respondents. According to her, the primary

reason is that adaptive behavior is supposed to be assessed in a “real community”
where the person has to make his own choices, as opposed to a structured prison
setting, where much of the inmate’s daily life is scheduled by the institutional

staff.123 As stated in Hardy, “An institutional environment of any kind necessarily

provides ‘hidden supports’ whereby the inmates are told when to get up, when to

eat, when to bathe, and their movements are highly restricted.” Hardy, 762

F.Supp.2d at 900. Dr. Swanson cited as an example the various prison forms
provided to inmates, including forms for commissary items and forms to request

medical attention. Included in the exhibits, for example, is a request by Smith for

medical attention.124 It asks for the inmate’s name, location, various identifying
data, date and time of the request and then provides two lines for “Nature of

Complaint.” Once filled out and turned in, the complaint is assessed by the

      122
        Govt. Exh. 42 at 28-43.
      123
        Rec. Doc. 1583 at 217-18; Rec. Doc. 1584 at 399-400.
      124
        Govt. Exh. 27.
                                         73
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 74 of 140




medical personnel and action is taken, such as providing medicine to the inmate.

As Dr. Swanson testified, this procedure is far different than someone sitting at
home with a medical problem and trying to figure out what to do about it.125 Yet it

is the latter environment that is relevant to an evaluation of adaptive behavior.
“Some experts have argued in court that the structure and routine of prison life are

well suited to many people with mental retardation and that they can become

model prisoners and indistinguishable from the average inmate.”126 Dr. Hayes in
her own listing of Smith’s observed behaviors noted a number of examples of his

ready acquiescence to the prison structure.127
      Dr. Swanson also testified that correctional officers do not have the type of

continuous contact with the offender that a caregiver would have, getting to know
him well over a long period of time. They are there to enforce incarceration.128



      125
         Rec. Doc. 1583 at 220; Rec. Doc. 1585 at 691-95. The same is true of the
commissary form which lists numerous items inmates can order divided into
categories with the prices listed. Govt. Exh. 52. All the inmate has to do is fill in
the dots corresponding to what they want and turn the form in. Rec. Doc. 1585 at
699-703.
      126
         J. Gregory Olley, The Assessment of Adaptive Behavior in Adult Forensic
Cases: Part 1, PSYCHOL. IN MENTAL RETARDATION & DEV’L DISABILITIES, Vol.
32, No. 1at 3 (2006); Govt. Art. 2 at 3; Rec. Doc. 1584 at 400.
      127
         Govt. Exh. 42 at 31:“Correctional officers noted Mr. Smith reads and
obeys signs....Mr. Smith follows the jail schedule without complaint;”id. at 42:
“Correctional officers noted that when requested to do so, he stops whatever
activity he is doing and goes to his cell without displaying any anger or untoward
behavior.”
      128
         Rec. Doc. 1584 at 400-01.
                                          74
  Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 75 of 140




They are also not trained to make assessments of adaptive behavior.129 This is

particularly relevant since Smith is a person who is not alleged to even be
moderately mentally retarded, but only mildly mentally retarded, and persons with

Mild Mental Retardation “are generally able to fulfill all expected adult roles, ”130

and “[w]ith appropriate supports...can usually live successfully in the community,

either independently or in supervised settings.”131 These individuals often “pass”

in the community, meaning neither their appearance or demeanor immediately

cause others to be aware of their deficits. Hardy, 762 F.Supp.2d at 902. For

example, Dr. Mauterer of the Tangipahoa Parish Jail testified about what jail

officials did with “severely impaired” inmates, and he did not recall Smith being
“tagged as anything other than normal.”132 In this case, the several psychologists,

who are trained in making such assessments, disagree on what Smith’s adaptive

capabilities are. Prison guards can hardly be expected to be able to make that

determination. Furthermore, as was noted in Hardy, “prison officers’ observations

are limited to an extremely unusual set of circumstances, and are likely to be
filtered through their experience with other prisoners, many of whom may also

suffer from intellectual limitations.” Hardy, 762 F.Supp.2d at 900. A further

shortcoming relating to the use of prison personnel as respondents is the bias they

      129
         Rec. Doc. 1583 at 219.
      130
         APA MANUAL at 17–18.
      131
         DSM-IV-TR at 43.
      132
         Rec. Doc. 1585 at 695-96.
                                          75
  Case 2:04-cr-00017-NJB-SS        Document 1630       Filed 06/23/11    Page 76 of 140




might have, as law enforcement officers, against a criminal, a bias which Dr. Hayes

acknowledged was “certainly possible.”138
       A final difficulty with the use of correctional officers as respondents is the
fact that they are observing Smith in his 50's and not at age 17, which is the age

focused upon by Smith’s family members with Dr. Swanson and is the age relevant

to an assessment of mental retardation. The important issue of when a skill is

learned is ignored by the use of these correctional officers as respondents. The
mildly mentally retarded tellingly used to be labeled “educable,”139 meaning skills
could in fact be learned, eventually. Dr. Swanson testified that seeing a strength in

a person as an adult is insufficient without answers as to when he learned it,
whether it was contemporaneous with same-age peers, how long it took to learn it

and how much support had to be provided. “Not seeing a deficit at 26 doesn’t mean
maybe there wasn’t a deficit earlier developmentally...”140 Likewise, seeing
strengths at 55 or older, does not mean that relevant deficits were not present during

the developmental period.
       Dr. Hayes agreed with Dr. Swanson that the authors of the ABAS-II indicate

that it should not be used in a correctional setting, but testified that she still “used it

as a guide for an interview and to make summary statements.”141 Dr. Hayes

       138
         Rec. Doc. 1584 at 541.
       139
         DSM-IV-TR at 43.
       140
         Rec. Doc. 1530, Tab 5 at 624, 667; Rec. Doc. 1536.
       141
         Rec. Doc. 1584 at 543-44.
                                            76
     Case 2:04-cr-00017-NJB-SS      Document 1630   Filed 06/23/11   Page 77 of 140




provided a long list of observed behaviors by the correctional officers as support for

the finding that Smith is not mentally retarded.142 Persons with Mild Mental
Retardation clearly have strengths as well as weaknesses, allowing most of them to
live in society.143 As Dr. Swanson persuasively testified , many of the behaviors

Dr. Hayes listed are well within the capabilities of a person with Mild Mental

Retardation, particularly someone with Smith’s verbal ability.144 In Wiley, the state

argued that the defendant could not be found to be mentally retarded because he
“often provided money to help pay household bills, possessed skill repairing
vehicles and frequently helped friends and neighbors with auto repairs, provided

transportation for others, volunteered for military service, and was a reliable worker

who quit school to go to work to provide for his family.” Wiley, 625 F.3d at 217.

The Fifth Circuit rejected that argument, noting that several of the expert witnesses
testified that mentally retarded people can in fact perform all of those functions.

        The vast majority of Dr. Hayes’ findings regarding the correctional officers’
observations of Smith’s behavior fall into the category of behaviors that a mildly

mentally retarded person can readily perform, and therefore are irrelevant to the

ultimate determination here. A significant portion of the remaining behaviors are

those which the penal institution itself provides substantial structure and support,


        142
           Govt. Exh. 42.
        143
           AAIDD 11TH EDITION at 7; AAMR 10TH EDITION AT 13; USER’S GUIDE at
3.
        144
           Rec. Doc. 1583 at 221.
                                           77
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 78 of 140




hence, are not indicative of how Smith would have functioned in the community at

large, which is the only relevant environment. Those observations are likewise
irrelevant to the issue presented. Finally, the correctional officers are simply not

qualified to assess an additional number of reported observed behaviors as being

either within or outside the range of mental retardation. Those observations must
also be disregarded. Those specific behaviors and which of the three categories the

Court concludes they fall are listed in “Appendix C,” attached to this opinion.



      iv. Drug Use and Brain Injury/ Truancy

      Dr. Hayes also suggested that Smith’s poor adaptive behavior and intellectual

functioning throughout his life was caused or affected by his drug use.145 Smith

admitted to abusing drugs since the approximate age of 10, when he began sniffing

glue.146 Dr. Hayes candidly admits that “[t]he literature is emerging in the area,
and it appears that neuropsychological functioning appears to be impaired when

individuals are intoxicated and/or are regularly using heroin,” but that “[w]hat is
unclear is the long-term impact of heroin dependence on intellectual functioning

following a significant period of sobriety (i.e., years vs. months).”147

      Again, Dr. Gouvier examined Smith for neuropsychological problems


      145
         Rec. Doc. 1584 at 516.
      146
         Id. at 346, 440, 489; Govt. Exh. 42 at 27, 45.
      147
         Govt. Exh. 42 at 27.
                                           78
  Case 2:04-cr-00017-NJB-SS         Document 1630   Filed 06/23/11   Page 79 of 140




relative to drug abuse and brain injury, and did not testify. According to Dr.

Swanson, however, Dr. Gouvier did not find brain injury in relation to substance
abuse by Smith.148

      Smith indicated to Dr. Hayes that it was not until after his service in the Navy

that he became involved with drugs heavier than marijuana, and more specifically,

heroin.149 By his own admission, Smith went through periods of heroin addiction

and sobriety.150 On at least one occasion, he lost potential employment at a
shipyard because he failed the drug test.151 Smith also said that when he was off

the drugs, his mind would return to normal.152

      By virtue of the evaluation by Dr. Gouvier, the possibility of brain injury
from drug use was considered, yet no evidence of its existence was actually
presented at the hearing either by the defense or the government. As a result, the

suggestion that Smith’s adaptive deficits, or intellectual functioning, were caused or
diminished by drugs and were not developmental in nature is entirely speculative.



      5.       School, Job Corps, U.S. Navy, Employment Records


      148
           Rec. Doc. 1583 at 143.
      149
           Deft. Exh. 5 at 116-21, 163-66.
      150
           Id. at 167-68.
      151
           Id. at 129-30.
      152
           Id. at 169.
                                             79
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 80 of 140




      The next task relevant to the assessment of adaptive behavior involves a

review of school, work and other records for data that can corroborate or refute a
finding of Mild Mental Retardation.153

      i. Elementary and High School

      Smith attended Murray Henderson Elementary School in New Orleans.154

No records were introduced from that particular school, so the only available
information comes from Smith’s self-report to Dr. Hayes contained in the videoed

interview lasting over five hours.155 The Court has viewed the interview on several
occasions and finds Smith to have been forthcoming and credible. Dr. Hayes also

testified that she found him cooperative and consistent in what he told her.156

      Smith stated that he entered Henderson at six years old, failed 1st grade and

was held back a year.157 He told Dr. Hayes that he regularly attended “special
classes” for students who were “slower” and that he needed the extra help.158 He

      153
         Some of these facts were referenced with regard to the Court’s finding of
significant subaverage intellectual functioning. They are discussed here in
connection with the second prong of the mental retardation test, substantial deficits
in adaptive behavior.
      154
        Deft. Exh. 6.
      155
        Govt. Exh. 42.
      156
        Rec. Doc. 1584 at 501, 511-12.
      157
         Deft. Exh. 5 at 86-87260-61. This is substantiated by the fact that Smith
ultimately graduated from high school at the age of 20, after repeating the 12th
grade as well. Deft. Exh. 6 at 361, 362, 367.
      158
        Deft. Exh. 5 at 84-85.
                                          80
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 81 of 140




attended these special classes throughout most of elementary school.159 He

specified problems with reading and spelling.160

      After 6th grade at Henderson, Smith attended L. B. Landry, which was a

combined junior and senior high school.161 He testified that Landry did not have
special classes. When asked by Dr. Hayes how he performed at Landry, he said:

      I had trouble in school, I...I was always...it was hard for me...to
      learn...I was slow. I needed...I needed extra help...the teachers would,
      I mean, the classes were so big and, you know, the teachers would
      give you instructions and it was one time instruction, if you didn’t get
      it you was on your own, if you needed somebody to help you...or...test
      time come.162

      I always had difficulties with...school period, you know, from, you
      know, I was always...I was always slow about comprehending,...you
      know, I would have to, in order for me to be able to...to pass certain
      tests I would need extra time or help or...yes.163

      Smith stated that while he did not fail any other full grades, he did fail
specific courses, like English and math. He was able to pass in “hands-on” type

classes, like wood making and the metal shop.164

      Smith did nevertheless graduate from Landry High School in 1971 at the age

      159
        Id. at 85-86.
      160
        Id. at 86.
      161
        Id. at 86.
      162
        Id. at 87.
      163
        Id. at 87.
      164
        Id. at 87.
                                          81
  Case 2:04-cr-00017-NJB-SS         Document 1630   Filed 06/23/11       Page 82 of 140




of 20.165 To pass a class at Landry, the student had to achieve a minimum score of

70.166 Smith’s overall average was 70.89, which was barely passing and placing
him 159th out of a class of 174, 15th from the bottom of the class.167

      While Smith did not officially fail any other grade besides 1st grade, he did

technically fail the 7th grade but was nonetheless promoted to the 8th grade. His 7th

grade report card shows that he failed by scoring less than 70 in math, two reading

classes and music. He had a barely passing grade of 70 in English and a 71 for
physical education. His final overall average for that year was a below passing
67.168 School records also show that Smith was heading to failure in 12th grade
before he dropped out of Landry in late March, 1970. His overall average when he

withdrew was a 63.169

      Smith eventually did graduate from Landry. The fact that he did so despite a
significant number of days being absent or tardy,170 was “remarkable” according to

Dr. Swanson’s testimony.171 His scores were barely passing, raising the question
naturally whether a student with Mild Mental Retardation could have achieved

      165
         Deft. Exh. 6 at 367.
      166
         Id. at 370 (bottom).
      167
         Id. at 367.
      168
         Id. at 368.
      169
         Id. at 361.
      170
         Id. at 368, 369, 361-62.
      171
         Rec. Doc. 1584 at 328.
                                           82
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 83 of 140




these grades. Dr. Hayes testified that it was “possible” but not “probable.”172

      Smith’s younger sister, Patricia, told Dr. Swanson that she helped Smith with

his homework when he was in high school.173 Even though Patricia was still in

elementary school, and Smith was in high school at the time, Dr. Swanson surmised
that Smith was functioning at a grade school level, comparable to Patricia.174

Smith likewise told Dr. Swanson that his siblings helped him with schoolwork and
that friends would let him cheat off of their exams.175 Even assuming he had such
assistance, his scores were not good.

      Other evidence indicates that Landry was not a school that challenged its
students. After Smith dropped out of the 12th grade, at the age of 19, he joined Job

Corps. As part of their admission process, he was academically tested. He scored

at the 3.1 grade level in reading and 4.3 grade level in math.176 He ultimately left

the Job Corps and returned to Landry in 1970 to repeat the 12th grade, this time
successfully.177 Dr. Cunningham noted that for someone with a 3rd grade reading


      172
        Id. at 441.
      173
        Id. at 313, 382.
      174
        Id. at 382-83.
      175
        Deft. Exh. 1 at 1.
      176
        Deft. Exh. 7 at 436.
      177
         Smith attended four of the six grading periods of 12th grade at Landry in
1969-70, with some days absent, before withdrawing. He subsequently attended
12th grade in Compton, California, for some period of time, before returning to
Landry. Deft. Exh. 5 at 120. Therefore, when he returned to Landry he had had a
                                          83
  Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11   Page 84 of 140




level to then graduate from the 12th grade of a high school, all while missing many

classes, “speaks volumes about the nature of what a high school graduation means
from that high school.”178 Dr. Hayes likewise conceded that his having graduated

despite all his absences could indicate “how bad the school was.”179

      Dr. Hayes cited a number of studies involving just African-American adults

that showed they scored very poorly on various literacy type tests,180 the point being

presumably that not all these poor performers were in fact mentally retarded.181
That is undoubtedly true, of course, but more significantly, the various studies cited

by Dr. Hayes are illustrative of the poor quality of education that these African-
Americans received from the public school system. The Court agrees with Dr.

Cunningham that the studies illustrate a pattern of social promotion or a watered-
down curriculum which allowed those with 3rd or 4th grade literacy to continue to

advance.182 In fact, when asked specifically if she found it anomalous that someone
could graduate high school when his actual achievement level is at the 3rd grade



lot of experience with the 12th grade.
      178
         Rec. Doc. 1585 at 669. Dr. Swanson testified, based on information from
one of the Landry 7th grade teachers at the time, that 7th grade math consisted
primarily of only addition, subtraction, multiplication, division, indicating a
watered-down curriculum. Rec. Doc. 1584 at 329-30.
      179
         Rec. Doc. 1584 at 441.
      180
         Id. at 434-39.
      181
         Id. at 439.
      182
         Rec. Doc. 1585 at 669.
                                          84
  Case 2:04-cr-00017-NJB-SS       Document 1630       Filed 06/23/11    Page 85 of 140




level, Dr. Hayes said it would be “unusual but it’s not that unusual.” She cited

police officers that she has screened who read at the 3rd grade level, and even some
students in junior college who read at that level.183 At a minimum, Dr. Hayes had

to concede, in light of what she was saying, that one interpretation of Smith’s
successful graduation is that he was simply socially promoted, without really

earning the degree.184

      When Smith was in the 7th grade, he took the Metropolitan Achievement

Test.185 Unfortunately, it is not known whether his comparative scores were

national, statewide or citywide. Dr. Swanson speculated that they were citywide,

as his scores were higher than she would have expected,186 considering that he had
actually failed 7th grade although promoted, and considering also his Otis Beta IQ
scores the same year, which placed him in the mildly mentally retarded range.187

Nevertheless, she testified that his score at the 1st percentile in spelling and the 2nd

      183
         Id. at 567.
      184
         Id. at 567. Dr. Hayes also presented data showing graduation rates from
high schools in Louisiana a few years after Smith graduated. It showed that
roughly two-thirds of students graduated, placing Smith at better than a third of the
students starting in high school. Rec. Doc.1584 at 442-43. She acknowledged
these were statewide statistics, that she had no information on Landry itself, its
graduation rate, nor its social promotion policy. Id. at 552-53.
      185
         Deft. Exh. 6 at 363.
      186
          Dr. Swanson indicated that the citywide norms are the least competitive of
the three sets of norms, so his rankings would be inflated as a result, as compared
to a national norm. In Hardy, Dr. Hayes acknowledged the same phenomena with
respect to another similar achievement test. 762 F.Supp.2d at 908.
      187
         Rec. Doc. 1583 at 94-95, 323-24.
                                            85
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 86 of 140




percentile in language are consistent with Mild Mental Retardation, and that the

three scores in the 3rd percentile (word knowledge, reading and language study
skills) were also quite low. At the same time, Smith did better in arithmetic, scoring
in the 21st and 24th percentiles respectively in those categories. Dr. Swanson stated

that these records, including standardized scores and grades, supported a finding
that his Functional Academic skills were low.188

      Dr. Hayes likewise cited the Metropolitan Achievement Test scores. She

again made a questionable conversion of those scores to an IQ score. Smith’s
highest score was in the 5th percentile, which she analogized to an IQ of 75.189 The

Court does not consider it appropriate to compare a MAT score with an IQ score,

but were the Court to use Dr. Hayes’ analogy, then Smith would be in the Mild
Mental Retardation range, considering the standard error of measurement. It is
also noteworthy that Smith scored in the 5th percentile in only two of the seven
Metropolitan Achievement tests - in the other five his scores were lower which

would clearly place him in the mildly retarded range, again using her own analysis.

      An arguably more accurate assessment of Smith’s knowledge was Dr.

Gouvier’s administration of the Test of Adolescent and Adult Language (“TOAL-


      188
          Id. at 139. Functional Academics is one of the subscore categories cited
by the APA. DSM-IV-TR at 49. These records have already been discussed with
regard to the Court’s finding of significant subaverage intellectual functioning.
The records are found to be equally supportive of subaverage functioning with
regard to any overlapping adaptive functioning domain.
      189
        Rec. Doc. 1584 at 433.
                                          86
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 87 of 140




3") to Smith in May 2007. Smith’s scores were below the 1st percentile in three

categories: speaking, reading and writing grammar, at the 1st percentile in listening
and writing vocabulary, at the 2nd percentile in speaking vocabulary, at the 9th

percentile in listening grammar and at the 25th percentile in reading vocabulary,

providing the only relatively positive score.190

      The Court concludes that Smith’s school records, plus Dr. Gouvier’s TOAL-

3 testing, are consistent with a diagnosis of Mild Mental Retardation. The DSM-
IV-TR states that mildly mentally retarded individuals can acquire academic skills

up to about the 6th grade level191 and the APA’s Division 33 similarly states that for

the mildly mentally retarded, “(r)eading and numbers skills will range from 1st to 6th
grade level.”192 Smith appears to have peaked at around the 5th grade level.193 The
Court also finds that Smith’s graduation from Landry High School failed to

establish that he achieved, in fact, a 12th grade education. Rather, the evidence
instead supports the finding that Landry had an anemic curriculum and a practice of

social promotion, which masked the deficits and academic shortcomings of its
students.

      Other factors support the finding of Mild Mental Retardation. Smith showed


      190
         Rec. Doc. 1583 at 140-41.
      191
         DSM-IV-TR at 43.
      192
         APA MANUAL at 17-19.
      193
         Deft. Exh. 7 at 436; Rec. Doc. 1583 at 80-81, 382-83.
                                           87
  Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11    Page 88 of 140




determination to complete his schooling, despite his marginal grades and periodic

setbacks. Even after dropping out of Landry, and then dropping out of the Job
Corps program, he nonetheless returned to Landry in the fall of 1970 and graduated

as the age of 20 in 1971.194 The Court concludes that Smith’s struggles were not

through lack of effort. He persisted in trying to achieve, but consistently fell short.
The most plausible explanation is simple lack of ability to compete at the levels he

sought. He would repeat this pattern later in the Job Corps, in the U.S. Navy and in

his work history.

      In addition, despite his difficulties with school, Smith indicated he got along

with the other students and teachers,195 and other than absences and tardiness, his

school records do not indicate otherwise. While he did not get the academic help he

truly needed, school was an environment that provided at least some structure that
aided his progress. As the DSM-IV-TR advises, persons with Mild Mental

Retardation can succeed “(w)ith appropriate supports.”196

      Smith also recounted to Dr. Hayes an experience of allowing himself to be

sexually molested by a homosexual algebra teacher, Mr. Richardson, in the 11th

grade, in exchange for a better grade.197 While Dr. Hayes expressed some


      194
         See also Rec. Doc. 1584 at 327.
      195
         Deft. Exh. 5 at 88.
      196
         DSM-IV-TR at 43.
      197
         Deft. Exh. 5 at 98.
                                           88
  Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11    Page 89 of 140




skepticism over whether this occurred,198 it is difficult to imagine Smith making up

such an event. Smith would have been 18 years old at the time. According to the
AAIDD 11TH EDITION, persons with intellectual disabilities “typically have a strong

acquiescence bias or a bias to please that might lead to erroneous patterns of
responding.”199 His report card for that algebra class shows he was failing until the

6th grading period, which showed a spike to a startling score of 90, lending further

support to his recollection of molestation.200 The score of 90 allowed him to pass
the class for the semester.

      Finally, Smith did not participate in any extracurricular activities, was not
involved in athletics or clubs, and received no honors or awards.201 As the

Supreme Court noted in Atkins, mentally retarded people “in group settings...are

followers rather than leaders.” Atkins, 536 U.S. at 318.

      All things considered, the Court finds, by a preponderance of the evidence,
that all the data from Smith’s elementary, middle and high school career support a
finding of Mild Mental Retardation.


      198
         Rec. Doc. 1584 at 553-54. Dr. Swanson testified to having reviewed an
affidavit from another teacher who was at the school at that time and confirmed
that Mr. Richardson was rumored to be involved in such behavior with other
students. Id. at 330. The Court considers this reliable corroborative information,
despite its hearsay nature.
      199
         AAIDD, 11TH EDITION at 51-52.
      200
         Deft. Exh. 6 at 361.
      201
         Deft. Exh. 5 at 88-89.
                                          89
  Case 2:04-cr-00017-NJB-SS        Document 1630   Filed 06/23/11   Page 90 of 140




      ii.      Job Corps

      In March 1970, when he was 19 years old, Smith enrolled in the Job Corps.202

As already noted, he was academically tested and scored at the 3.1 grade level in
reading, and at the 4.3 grade level in math. His records indicated he could add,

subtract, multiply and divide whole numbers and that “[h]is progress, attendance,

and attitude are good, except in math where his progress and attendance are
poor.”203 Dr. Swanson’s math probes with Smith yielded results consistent with a
math capability at the 4th grade level, indicating Smith had not advanced in the

ensuing decades.204

      Smith studied welding while in the Job Corps. His progress was slow at best.
The Job Corps evaluated corpsmen by a three code system. “Level L” was
“Limited Skill,” which was described as able to do simple tasks but needing

instruction or supervision for more complex tasks. “Level M” was “Moderate
Skill,” which was described as able to competently perform with limited
supervision but still may need help on more complicated tasks. “Level S” is

“Skilled,” which is defined as able to work independently and meet the demands of

speed and accuracy on the job.205 In the 33 welding categories in which Smith was


      202
            Deft. Exh. 7 at 386.
      203
            Id. at 436.
      204
            Rec. Doc. 1583 at 80-81.
      205
            Deft. Exh. 7 at 387.
                                          90
  Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11   Page 91 of 140




rated, after 114 hours of training, Smith scored an “S” in none. Most of his scores

were at the “L” or lowest level, the remainder at “M.”206 Dr. Swanson found that
this record supported her conclusion as to poor adaptive functioning regarding
Work Skills.207

      Smith told Dr. Swanson that he dropped out of the Job Corps because he

could not meet the academic requirements.208 Apparently part of the program,

since he had not graduated high school, was to attend G.E.D. classes. Smith told

Dr. Hayes that he could not pass math, English and spelling, so he did not finish the
program.209 Smith also had attendance and attention problems. He was assessed
demerits on several occasions for sleeping in class, or not showing up for class at

all, including one absence because he was in jail.210 Dr. Swanson testified that this
sort of irresponsible behavior is consistent with Mild Mental Retardation: “there are

certain things we may not do well when we’re 13 or 14, but it’s expected in our
culture that by the time we enter adulthood, we understand the importance of these
things and we start doing them. And he had not understood – he was not doing



      206
        Id.; see also Rec. Doc. 1583 at 110.
      207
        Rec. Doc. 1583 at 109-11. Work Skills are a subscore category of the
APA’s list of adaptive behaviors relevant to a diagnosis of mental retardation.
DSM-IV-TR at 41.
      208
        Rec. Doc. 1584 at 320.
      209
        Deft. Exh. 7 at 436, box 24; Deft. Exh. 5 at 66.
      210
        Deft. Exh. 7 at 400-04.
                                          91
  Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 92 of 140




them at that point...”211

       The Court concludes that Smith’s Job Corps experience is consistent with a

person with Mild Mental Retardation. He entered the program at 19 years of age,

performing only at a 3rd and 4th grade level. He began with a good attitude and

effort, but was slow to master even the basics of welding, needing additional
instruction and supervision. He also struggled with the academic requirements of

the G.E.D. program. Eventually, he stopped regularly attending class and was

administratively discharged.

       This was a pattern that repeated itself again when, after high school

graduation, Smith entered the U.S. Navy.



       ii. U.S. Navy

       Joseph Smith enlisted in the Navy in July, 1971. As part of the qualification
process he took a number of tests. Smith told Dr. Hayes that the recruiter gave him
a multiple choice test, which he thought he failed three times before finally

passing.212 Perhaps this was the initial test, the Armed Forces Qualification Test.


       211
         Rec. Doc. 1584 at 388.
       212
         Deft. Exh. 5 at 67. Dr. Hayes did not find that Smith malingered or
“dummied down” during her lengthy interview with him. She testified that she
did not catch him in any lies, that his responses were consistent with his history,
and what she thought were his expected levels of functioning. Rec. Doc. 1584 at
511-12. The Court has likewise viewed the entire recorded interview and finds, as
already noted, Smith to be cooperative and candid in his responses.
                                          92
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 93 of 140




According to Dr. Hayes, that test is a measure of general ability and covers verbal

ability, arithmetic reasoning, spatial relations and tool functions.213 When Smith
finally passed, he scored in the 17th percentile on that test, indicating that 83% of

the people taking the test scored better than he did.214

       Dr. Swanson testified that the military divided potential inductees into five

categories, with the fifth being those who score in the 1st to 9th percentile and are not

admitted.215 Dr. Hayes concurred.216 Dr. Cunningham testified that Smith fell
into the fourth category which would be consistent with an intellect at least in the

borderline range, with intellectual abilities significantly deficient as compared to the
other servicemen.217

       The Navy Applicant Qualification Test, according to Dr. Hayes, measures

vocabulary, arithmetic and spatial relations.218 Smith’s score was in the 28th

percentile on that test, indicating that 72% of the Navy applicants did better than
him.

       The General Classification Test, according to Dr. Hayes, consists of verbal


       213
         Govt. Exh. 42 at 22.
       214
         Govt. Exh. 4.
       215
         Rec. Doc. 1583 at 152.
       216
         Rec. Doc. 1584 at 557.
       217
         Rec. Doc. 1585 at 760-62.
       218
         Govt. Exh. 42 at 22.
                                           93
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 94 of 140




analogies and sentence completion items.219 As already noted in the earlier section

on IQ, Dr. Swanson testified that the GCT is not an IQ test but it does highly
correlate with IQ scores.220 Dr. Swanson testified that the mean of the test is 50 (as

compared to 100 for an IQ test), with a standard deviation ranging from 7.5 to 10,
depending on which the military was using at the time. This would place Smith’s

score at least one “and probably two” standard deviations below the mean.221 Two

standard deviations below the mean on an IQ test is in the Mild Mental Retardation
range. Dr. Swanson also noted that Smith’s score on a separate arithmetic test was
a 39, which was also low.222 The military records themselves rank the scores on the
GCT and the arithmetic score from 1-5, with 1 being high, 3 being average and 5

being low. Smith’s GCT score of 5 was at the bottom rung or “low,” and his
arithmetic score of 4 was “below average.”223

      In Dr. Hayes’ expert report, she declared that none of Smith’s military test

scores were in “the mentally retarded range,” as if all the tests purported to measure

IQ, which even she had to concede they did not.224 While the GCT result appears
to be the only one arguably analogous to an IQ score, Dr. Hayes not only

      219
        Id.
      220
        Rec. Doc. 1583 at 150, 153.
      221
        Id. at 150-51.
      222
        Id. at 150-51.
      223
        Govt. Exh. 6.
      224
        Rec. Doc. 1584 at 445.
                                          94
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11    Page 95 of 140




converted that score to an IQ score of 75, but took the highly questionable step of

analogizing all of Smith’s military test scores to IQ tests.225 She testified that

Smith’s 17% percentile rank on the Armed Forces Qualification Test “equated...on
the same metric as an IQ of 100” as comparable to an IQ of 85 or 86, and that his

score on the Navy Applicant Qualification Test was similarly analogous to an IQ of

91 or 92.226 She even converted his score on a Sonar Pitch Memory Test into an IQ
of 91 and a Radio Code Aptitude Test into an IQ of 94.227 No testimony was
presented at all as to how any of these particular tests in fact correlate with IQ, if

any do at all. Indeed, it is difficult to fathom how a sonar pitch memory test can be
a measure of innate intelligence, other than peripherally on the quality of one’s

memory. On cross-examination, Dr. Hayes backtracked from saying she “inferred”
an IQ result from the sonar test, claimed that she was not declaring his IQ was 91,
but she was simply reporting “data” and a “standard score.”228 She also conceded
that she had not actually seen any of these military tests, hence did not know their

content, and did not know what the mean or standard deviation or margin of error
was on any of the tests.229 Noteworthy too is that those enlisting in the military may
not be representative of the entire population and the range of intellectual ability.

      225
         Id. at 443-45.
      226
         Id. at 443.
      227
         Id. at 444-45.
      228
         Id. at 554-57.
      229
         Id. at 556-57.
                                           95
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11    Page 96 of 140




The Court finds Dr. Hayes’ casual comparisons of these various military tests to an

“IQ” to be highly inappropriate, misleading and unscientifically based, hence,
unworthy of any credence.

      Once in the military, Smith immediately began to have difficulties. He
related to Dr. Swanson that he failed the first boot camp in part because he did not

master bed-making, failed the second boot camp in part because he did not store his

clothes correctly or appear properly in uniform and failed the third boot camp
because of academics.230 He relayed likewise to Dr. Hayes that he failed basic

training three times.231 One of the tests he failed was clothes folding and the Navy

eventually put him in a clothes folding company “so I was able to get that down.”232
He still struggled with the “school part.”233 Smith and another sailor were having
difficulty with the written tests, so another sailor helped them with a study guide

and finally Smith was able to pass the academic test and graduate from boot
camp.234 Smith estimated it took him as long as “like, two, well, four, two, three,

three, four months or something” to make it through boot camp, which, according to




      230
        Rec. Doc. 1583 at 154.
      231
        Deft. Exh. 5 at 67.
      232
        Id. at 67-68.
      233
        Id. at 67.
      234
        Id. at 68.
                                          96
  Case 2:04-cr-00017-NJB-SS        Document 1630         Filed 06/23/11   Page 97 of 140




Smith, ordinarily takes six to eight weeks.235 The Navy at that point even offered

to release him from military, with benefits, but he wanted to stay in the Navy.236
Dr. Swanson observed how motivated Smith had to have been to stay in the Navy
despite all these initial and frustrating setbacks.237

      He then went to Tennessee for Fleet Preparatory School but, in October 1971,

failed to advance to AIRMAN because he did not successfully complete all the

requirements of AIRMAN/BMR.238 In March 1972, he was evaluated for the first

time and received a below average mark in Professional Performance on the basis

that he “is content to follow and not to exert any individual attention to a project at
hand.”239 Again, mentally retarded individuals are “followers rather than leaders.”

Atkins, 536 U.S. at 318.

      Smith did however, in the same month, become qualified as a Plane


      235
        Id. at 67-68. It took Smith slightly less than three months to complete
boot camp. Govt. Exh. 7 at 22.
      236
         Deft. Exh. 5 at 68-69.
      237
         Rec. Doc. 1583 at 154-55.
      238
         Govt. Exh. 7 at 21; Deft. Exh. 5 at 69. There appears to be a
contradiction in the records as Govt. Exh. 7 at 47 indicates Smith received a mark
of "Satisfactory" and graduated from Aviation Fleet Preparatory Class in October
1971. Dr. Hayes in fact cited this in her report as an indication that Smith was
“inconsistently” reporting his history. Govt. Exh. 42 at 19. Dr. Swanson surmised
that he passed the four week requirement but not with a high enough score to move
up a grade. Rec. Doc. 1583 at 155. Smith graduated but was still not able to
advance to a higher level. Hence he was not being inconsistent in what he told Dr.
Hayes.
      239
         Govt. Exh. 7 at 20.
                                            97
  Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 98 of 140




Captain.240 Dr. Hayes researched what that entailed and surmised that he worked

on exterior aircraft maintenance, although not on the actual mechanics of the
plane.241 Smith himself told Dr. Hayes that he checked the planes for fuel leaks,

checked the tires and put the ladder up for the pilot to climb aboard and then “hook
him up.”242

      Over the succeeding months, Smith had recurring problems with simple and

basic responsibilities–such as showing up on time for his assigned duties,243 and

staying awake when he was on duty.244 This was a recurrence of the problems he

experienced in the Job Corps. In September 1972, he received a below average

mark of 2.0 in Military Behavior on the basis that even though he was a well
qualified plane captain, “he lacks motivation, initiative, and confidence.”245 The
report also criticized Smith for being disinterested in his daily tasks, flaunting

authority and being unwilling to accept his responsibilities. Slightly over a month
later, he received below average marks in Professional Performance and
Adaptability for being continuously late to work, with little or no excuse, for taking

the easiest method of completing his assigned tasks and needing constant reminders

      240
         Id. at 19.
      241
         Rec. Doc. 1584 at 483.
      242
         Deft. Exh. 5 at 89-90, 000263-64.
      243
         Govt. Exh. 7 at 19; see also id. at 18, 35, 40.
      244
         Id. at 37.
      245
         Id. at 18.
                                           98
  Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11    Page 99 of 140




of the job to be done.246 His negative attitude towards the military was also noted.247

It appears at that point he was demoted as well to an inferior pay grade and rank,
losing his Plane Captain status.248

      Smith did apparently have one brief hiatus where he performed well, through

the direct intervention of a Navy Boatswain Mate Chief Glen Patton. Patton was
aware of Smith’s disciplinary problems and requested that Smith work in his

squadron as a compartment cleaner, apparently around September 1972.249 Smith
worked for Patton for around three months. Obviously Patton was supportive,

providing structure and accommodation. Smith responded in a positive way, doing
his job well, creating no problems and significantly improving his attitude.250

      One of Smith’s diversions when he was in the U.S. Navy was gambling,

specifically shooting dice. He would let the losers borrow from him until the next
payday, but charged a quarter for every dollar borrowed. While the government

characterized this as earning 25% interest per week, Smith simply explained it as
receiving a quarter on the dollar.251 Dr. Hayes and Dr. Swanson understood the



      246
         Id. at 17.
      247
         Id.
      248
         Id. at 40; see also Rec. Doc. 1583 at 146-47.
      249
         Govt. Exh. 7 at 83.
      250
         Id.
      251
         Deft. Exh. 5 at 71.
                                          99
 Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 100 of 140




arrangement the same way.252 Dr. Swanson opined that he did not have the math

skills to understand the concept of interest but he did have enough skills to
concretely determine what he was owed. He would do so apparently by laying out

the money, dollar by dollar, with a quarter alongside each one.253 While the Court

concurs that Smith did not have the math skills to comprehend interest rates, it was
a strength of his that he was able to create his own method to keep track of what he

was owed.

      One of the debts he was owed ultimately led to his discharge from the U.S.
Navy. Someone failed to pay Smith back the money owed from gambling, so

Smith stole the stereo system from his room.254 He was charged with both wrongful

appropriation and threatening the same person with harm and was convicted of the

first charge, acquitted of the second. Based on this final straw, so to speak, Smith
was then processed out of the Navy for “Unfitness” but with an Honorable

Discharge.255 He was not recommended for reenlistment.256

      According to Dr. Swanson, the U.S. Navy records were consistent with a

person who has Mild Mental Retardation and consistent with his demonstrated



      252
        Rec. Doc. 1584 at 412, 270.
      253
        Rec. Doc. 1583 at 271.
      254
        Deft. Exh. 5 at 71-72.
      255
        Govt. Exh. 3.
      256
        Govt. Exh. 7 at 14.
                                         100
 Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 101 of 140




Functional Academic Skills.257 The Court agrees. Dr. Swanson noted Smith’s

extended stay in boot camp, and how the skills he was having difficulty mastering,
at 20 years old, were basic practical Self-Care Skills–making a bed, keeping your

clothes clean, neat and folded.258 In addition to these deficits, he consistently

struggled with the academic requirements. As Dr. Swanson testified, a mildly
mentally retarded person can eventually master a skill, but needs more repetitions,

taking a longer period of time to do so.259 She also cited the October 1972, critique
from Smith’s superior officer for arriving to work late, having to be reminded to get

to work and taking the easiest way to complete a task, all of which, according to Dr.
Swanson, were relevant to deficient adaptive behavior receptive skills, the ability to

understand and to follow instructions.260

      Dr. Hayes, on the other hand, concluded that Smith’s difficulties were not
related to mental retardation, noting that one supervisor indicated he was a well-

qualified Plane Captain.261 However, as she herself determined, being a Plane
Captain did not involve difficult tasks. His tenure as a Plane Captain was not a

long one before he was demoted to a lesser grade. Dr. Hayes also pointed out that
Smith completed a defensive driving course and portable fire extinguisher training.

      257
         Rec. Doc. 1583 at 175-76.
      258
         Id. at 85-86; Deft. Exh. 1 at 1.
      259
         Rec. Doc. 1584 at 389.
      260
         Rec. Doc. 1583 at 145-46.
      261
         Rec. Doc. 1584 at 485.
                                            101
 Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11   Page 102 of 140




The Court notes that the each training lasted only one day, indicating a rudimentary

class, not difficult to complete.262 Smith’s former Navy attorney, Howard Abbott,

testified at the Atkins hearing that Smith’s low GCT/ARI score would have limited

the jobs he could strive for in the Navy and that what ultimately happened to him in

the Navy was in keeping with those scores.263

      The Court concludes that Smith’s military failures are more indicative of

Mild Mental Retardation than simply discipline issues. His repeated failure to pass
even the initial examination, his low marks on the GCT test, and his having to
repeat boot camp three times for not mastering basic domestic and self-care skills,

all indicate an initially motivated person who simply could not make the grade. His
failures began to mount and he eventually turned hostile to the entire military
experience, with the exception of working for several months under Boatswain

Patton, who took the initiative of bringing Smith into his squadron and may have
provided him with encouragement. This underscores that Smith had the desire to
succeed, but simply could not absent significant supports. Even at the end of his

service, he fought a dishonorable discharge and, ironically, it was an argument by
his attorney that Smith had “limited capability to make value judgments as indicated

by his low GCT/ARI scores” that may have won him his general discharge under




      262
        Govt. Exh. 7 at 26.
      263
        Rec. Doc. 1586 at 810.
                                         102
 Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11    Page 103 of 140




honorable conditions.264

       One final issue regarding Smith’s military career needs to be addressed,

which is the typed letter he signed in connection with his Navy discharge process.265

His attorney at the time, Howard Abbott, testified that he had no specific
recollection of the Smith representation.266 However, Abbott testified that most of

his clients opted not to have a formal hearing and at most to submit written
documentation in their favor.267 He would instruct the client to also go and prepare
his own statement, in his own words, and bring it back.268 Abbott would not change

the substance of the statement, other than correcting punctuation and possibly

spelling.269

       Dr. Swanson testified that Smith told her that someone helped him write the
letter and that he did not do it himself.270 Dr. Hayes testified that this letter would

need a 9th grade education to be able to read and understand.271 She conceded that



       264
         Govt. Exh. 7 at 82.
       265
         Govt. Exh. 5.
       266
         Rec. Doc. 1586 at 780, 796.
       267
         Id. at 781-83.
       268
         Id. at 784-85.
       269
         Id. at 786-87.
       270
         Rec. Doc. 1583 at 156.
       271
         Rec. Doc. 1585 at 565-66, 571-72; Govt. Exh. 42 at 24.
                                          103
 Case 2:04-cr-00017-NJB-SS        Document 1630      Filed 06/23/11   Page 104 of 140




someone could have assisted Smith with the draft.272

      Having assistance appears to be the only realistic explanation for the letter.

When Smith was in the Job Corps, roughly a year before his enlistment, his reading

level was determined to be at the 3rd grade level.273 When he was incarcerated in the

Texas Department of Corrections in 1977, several years after his Navy discharge, he
tested at the 5th grade level.274 It is implausible to believe that he went from a 3rd
grade level in 1970 to a highly unlikely 9th grade level a year later than back to a 5th

grade level several years after that.275 The Court concludes that Smith had
assistance in drafting the letter, even if it did not come from Abbott.

      The Court finds Smith’s experience in the U.S. Navy, from his initial test
experiences through his difficulties in graduating from boot camp, his lack of

success in advancing up the ranks and his ultimate failure at basic responsible
behavior, are all characteristic of person with Mild Mental Retardation. As with his
other earlier endeavors, Smith began motivated to succeed, but then became

increasingly disillusioned as he fell further behind from meeting any goals.



      iv. Employment History


      272
         Rec. Doc. 1585 at 566.
      273
         Deft. Exh. 7 at 436.
      274
         Govt. Exh. 9; Rec. Doc. 1585 at 564-65.
      275
         See also Rec. Doc. 1585 at 670-71.
                                           104
 Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 105 of 140




      According to Dr. Swanson, persons with Mild Mental Retardation can in fact

have long work careers and be very productive, albeit at menial jobs.276 A person’s
work history can be systematically assessed to determine if it is consistent with a
person who is mildly retarded. The relevant factors include: how many jobs the

person has had, how frequently he changed jobs, who helped him find the jobs,

what the wages were, how menial were the tasks and how the work compared with

those of same age peers.277

      Smith reported to Dr. Hayes that after he left the U. S. Navy, he worked for

several months at a supermarket. He bagged groceries, stocked shelves, cleaned
floors and at times took inventory, which consisted of counting the canned goods.278



      In spring of 1977, Smith was convicted of robbery and sent to the Texas

Department of Corrections.279 His job classification was as a “Laborer” and he

tested at the 5.2 grade level.280 In the fall of that year, he took a Business Law class
provided in prison by Lee College and received a “D” as a grade.281 In the summer



      276
         Rec. Doc. 1583 at 163.
      277
         Id. at 163, 173-74.
      278
         Deft. Exh. 5 at 113.
      279
         Govt. Exh. 11 at 5-6, 9.
      280
         Id. at 13.
      281
         Deft. Exh. 6 at 380B.
                                          105
 Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 106 of 140




of 1978, he signed up for several welding classes, receiving “C”s in three of the

classes and withdrawing from the other two.282 Dr. Cunningham surmised that
since these classes were given in prison, the courses were likely not as demanding
as they would be in the open community.283

      Smith told Dr. Hayes that when he left prison, he went to Houston

Community College for several months for a refresher course on welding, which

may have taught the same skills that he purportedly studied in prison.284 In any

event, he did not complete any of the classes and withdrew.285

      Smith reported that after prison he got a job as a welder in Houston, working
about a year although he conceded he was an “absentee somewhat.”286 He next

went to a Brown & Root shipyard where it took him three attempts before he passed

the weld construction test.287 This was, of course, after taking classes in welding in

the Job Corps, through Lee College while in prison, and at Houston Community

College. He reportedly worked at Brown & Root for about eighteen months, was
laid off, then hired on at another shipyard where he managed to pass the welding



      282
        Id. at 380C.
      283
        Rec. Doc. 1585 at 671.
      284
        Deft. Exh. 5 at 91-92.
      285
        Deft. Exh. 6 at 380A.
      286
        Deft. Exh. 5 at 124.
      287
        Id. at 125-26.
                                         106
 Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 107 of 140




test the first time.288 His work recollection became hazy after that, although he did

relay several more welding jobs which all ended with his being laid off.289 He
worked at Avondale Shipyard at several different times, claiming to have made as
much as $14 per hour.290 On one occasion he was fired for insubordination, after

arguing with his supervisor.291 On another occasion he was fired from a welding
job for taking a day off without calling in.292 Prior to being arrested on the current

charges, he was working for Labor Ready, a contracting company for general
laborers, and he was no longer welding. He said he was on drugs and failed the
drug test at Bollinger Shipyard.293

      Smith also reported to Dr. Hayes that he was taken advantage of by his
employer when he was allegedly hurt on the job while working for the Iron Union
Local 84 in Houston. He stated that he was on a ladder which slipped, causing him

to fall and badly injure his wrist. He said his co-workers encouraged him to get a
lawyer. However, Smith said his employer “tricked” him by telling him that
workers’ compensation did not pay much, and suggesting to him he continue to


      288
         Id. at 126-27.
      289
         Id. at 127-28, 130.
      290
       This pay rate does not conform with the one provided in the work records
from Avondale. Deft. Exh. 9 at 605.
      291
         Deft. Exh. 5 at 129.
      292
         Id. at 131.
      293
         Id. at 130.
                                          107
 Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 108 of 140




work instead, with the employer putting him on light duty.294 As noted earlier,

according to the AAIDD 11TH EDITION, persons with intellectual disabilities
“typically have a strong acquiescence bias or a bias to please that might lead to
erroneous patterns of responding.”295

      When asked to explain by Dr. Hayes what he actually did as a welder, Smith

was not able to articulate clearly how welding works. He tried to explain how a

structure is built, even standing up to demonstrate, but the explanation was obscure
at best. Likewise, when he was asked to explain what the welding tools were and
how they functioned, he rambled through various terms, like a stamp, a chipping

hammer, and a rosebud, without clarifying how any of them actually worked. Dr.
Hayes’ colleague, Dr. Thompson, ultimately interrupted the recorded interview to
provide the explanations.296

      How good of a welder was Smith? He identified himself as a “structural
welder” and when Dr. Hayes asked if he advanced to other types of welding, he said
“no.”297 He also described what he did as “stick welding.”298 Among the records

from Avondale is a February 1988 memo to the “Welding/Tacking School” to test



      294
        Id. at 111-12.
      295
        AAIDD, 11TH EDITION at 51-52.
      296
        Deft. Exh. 5 at 93-97.
      297
        Id. at 91, 93.
      298
        Id. at 90-91.
                                         108
 Case 2:04-cr-00017-NJB-SS         Document 1630    Filed 06/23/11   Page 109 of 140




and interview Smith for the position of welder. Handwritten at the top is an “F” in

a circle “welding test” and at the bottom left is a handwritten note, “tacker.”299 This
appears to indicate that he failed the welding test but was hired on in the lesser role
of a tacker.300 This is actually confirmed by another of Avondale’s records, which

shows he was in fact hired in February 1988, but as a tacker, not a welder.301 The
highest grade of tacker can spot tack, or small stick a weld but then the welder has
to come in to finish it.302

       In April 1992, Smith was again hired by Avondale, but again as a tacker and

not a welder.303 In November 1996, Smith was again tested for the position of

welder, and was hired on once again as a tacker.304 Significantly, Dr. Swanson
testified that a program in Calcasieu Parish successfully trains mildly disabled

individuals in these very same tacking skills, so they can work in the various plants
in the area. “The tacking skills are pretty easy to teach.”305 Dr. Swanson surmised
that Smith was a very good tacker.306 She also pointed that even as a welder, a

       299
         Deft. Exh. 9 at 635.
       300
         Rec. Doc. 1583 at 168.
       301
         Deft. Exh. 9 at 605.
       302
         Rec. Doc. 1583 at 169-70.
       303
         Deft. Exh. 9 at 652-53.
       304
         Id. at 656.
       305
         Rec. Doc. 1583 at 169.
       306
         Id. at 167.
                                          109
 Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 110 of 140




person would be expected to not only pass the welding test, but also work at a

production rate. If doing one weld takes an inordinate amount of time, the person
might be retained as a tacker, but not as a welder.307

      In January 2001, Smith was hired as a welder, first class, by Avondale but

was terminated within a few weeks for insubordination.308 This was the incident in

which Smith reported having gotten into an argument with his supervisor. A first
class welder is someone who can independently weld all six types of welds.309 It
appears from Smith’s history that it is highly unlikely he ever achieved that level of

competence.310

      At Avondale, Smith’s pay ranged from a little more than $5 per hour, as a
tacker, to a little more than $10 per hour as a welder for a brief time before he was

fired.311 Dr. Swanson surmised that he spent a total of eight years in various

welding related jobs, but did not keep the jobs long at any one time.312 She pointed


      307
         Id. at 165, 221.
      308
         Deft. Exh. 9 at 629.
      309
         Rec. Doc. 1583 at 172.
      310
         Dr. Hayes in her report contends that Smith could operate “ARC, MIG
and TIG welders,” but no evidence was presented in support. Govt. Exh. 42 at 46;
Rec. Doc. 1584 at 467. The evidence does show that Smith did enroll in a TIG
MIG class while in prison, but withdrew before completing it and likewise signed
up for ARC classes at Houston Community College and withdrew again. Deft.
Exh. 6 at 380A, 380C.
      311
         Deft. Exh. 9 at 605.
      312
         Rec. Doc. 1583 at 166.
                                          110
 Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11    Page 111 of 140




out that he had started trying to learn welding when he was 19 years old, with

additional training in prison and in junior college, but “he didn’t have enough to
maintain those skills – to maintain the job and keep a long job and move past the

probationary period where they’re moving you up.”313 Dr. Cunningham

concurred.314

      In addition to the welding related positions, Smith also worked a number of

menial level jobs. He worked on a garbage truck, on a night crew cleaning
restaurants, and for a catering service, with some of the jobs lasting just a few

weeks.315 Dr. Hayes likewise observed that Smith did not hold a lot of jobs for a

long period of time, but that at least he was successful in getting jobs.316

      Dr. Swanson concluded that Smith’s employment history is consistent with

someone with Mild Mental Retardation.317 The Court agrees, and this finding is

supported when the specific relevant factors are considered:318

      1. How many jobs did the person have? In his thirty-five year working
career, beginning in 1968 and ending in 2003, Smith worked almost fifty different


      313
         Id. at 174.
      314
         Rec. Doc. 1585 at 671.
      315
         Rec. Doc. 1583 at 173-74.
      316
         Rec. Doc. 1584 at 487.
      317
         Rec. Doc. 1583 at 175.
      318
         Id. at 163, 173-74.
                                          111
 Case 2:04-cr-00017-NJB-SS           Document 1630   Filed 06/23/11   Page 112 of 140




jobs.319

       2. How frequently did he change jobs? The longest Smith appeared to work

at one time was eighteen months for Brown & Root. Most of his jobs were less

than a year, some only lasting a few weeks.320

       3. Who helped him find the jobs? It would appear that Smith himself

initiated his searches for jobs, which indicates to the Court again that he was

motivated to work and his failures did not result from a lack of effort. As Dr. Hayes
noted, Smith was successful at getting jobs, but not at holding them very long.321

       4. What were the wages? Smith never earned a significant amount of
money. His high was around $11,500 and in many jobs, his earnings were below
$500.322

       5. How menial were the tasks? Smith had many jobs which were menial,
with his highest successful work being as a tacker. As Dr. Swanson noted, persons
with mental disabilities can in fact succeed as a tacker.323

       6. How did his work compare with same age peers? Smith is an older

offender, with a long work history. However, he never achieved a level of success


       319
           Deft. Exh. 9 at 508-18.
       320
           Id.
       321
           Rec. Doc. 1584 at 487.
       322
           Deft. Exh. 9 at 508-17.
       323
           Rec. Doc. 1583 at 169-70.
                                            112
 Case 2:04-cr-00017-NJB-SS            Document 1630   Filed 06/23/11   Page 113 of 140




beyond menial work, and work consistent with the capabilities of someone with

Mild Mental Retardation.

      The Court finds that Smith’s work history is consistent with a diagnosis of

Mild Mental Retardation.



      6.       The Court’s Finding re: Smith’s Adaptive Functioning

        Assessing adaptive behavior, particularly using a retrospective diagnosis,
and necessarily relying on persons who care for the defendant, is fraught with

difficulty, but it is also invariably necessary in an Atkins context.324 Atkins, 536

U.S. at 308, 317-18.

      For the reasons stated above, the Court does not find Dr. Hayes’ assessment
to be reliably-based nor persuasive. Her method of only interviewing the

defendant and correctional officers presented a very narrow perspective on how
Smith behaves now, in a structured environment, but offers little insight as to how
he functioned during the developmental period in the larger community.

      On the other hand, Dr. Swanson used formal instruments with two people
who did know the defendant during the developmental period.325 Her

administration of more than 10,000 adaptive behavior assessments over her long


      324
           See e.g., id. at 229-50.
      325
        As noted earlier, the Court considered the assessment without
consideration of the results of the VABS-II administered to Dora Smith.
                                             113
 Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 114 of 140




career attests to her expertise and the consistency of the results confirms the

validity of her findings. Finally, the Court’s own assessment of Smith’s school
records, military service and employment history supports her opinion.

      The Court finds that the credible evidence establishes beyond a
preponderance that Smith has significant impairments and concurrent deficits in

adaptive functioning sufficient to diagnose him as mentally retarded with regard to

the second prong of the AAMR/AAIDD and APA definitions.



      c.      Factor Three: Age of Onset

      Since mental retardation is developmental, the final prong of the definition
focuses on the age of onset. Both the AAMR/AAIDD definitions require that the

significant limitations relating to intellectual and adaptive functioning originate
before age 18 years.326 The finding that the deficits in intellectual and adaptive
functioning originated prior to age 18 years is implicit in the Court findings relative

to the first two prongs, but it also demonstrated by the following evidence in
particular.

      Smith’s academic records contain intelligence test scores that support
intellectual impairment prior to age 18 years or close to that time, and are replete

with subaverage scores, grades and academic performance. Such records of poor

academic performance are the kind of information upon which the finding as to age

      326
           AAMR 10TH EDITION at 1; AAIDD 11TH EDITION at 1; DSM-IV-TR at 49.
                                          114
 Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 115 of 140




of onset was based in Wiley, 625 F.3d at 221. Smith’s score of 69 on an Otis Beta

test in the 7th grade and his 10th grade Otis Gamma test score of 75 are particularly
relevant. The same academic records also support the requisite age of onset with
regard to adaptive functioning. In addition, the Job Corps and Navy records,

compiled close to the age of 18 years, evidenced consistent intellectual and adaptive

deficits. The ABAS-II and VABS-II standardized scores from Smith’s sisters also

support the finding that Smith’s deficits originated before age 18 years.

      The Court recognizes that prior to these capital proceedings, Smith had never
been formally diagnosed as mentally retarded.327

      Dr. Swanson discussed an article by K. Salekin & B.M. Doane, Malingering

Intellectual Disability: The Value of Available Measures and Methods, APPLIED

NEUROPSYCHOLOGY 105, 111 (Taylor & Francis Group 2009), in which the authors

stated that “[i]t’s true that the disorder (mental retardation) can go undetected or

that the deficits in functioning can be misconstrued by professionals as a problem
solely due to poverty, lack of access to education, limited intellectual stimulation,

and/or problems in conduct.”328 Dr. Swanson agreed, pointing out that Smith came
from a low socioeconomic area, and attended a school with problems and no special
education program.329


      327
         Rec. Doc. 1583 at 252.
      328
         Govt. Art. 3; Rec. Doc. 1584 at 393.
      329
         Rec. Doc. 1584 at 393-94.
                                          115
 Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 116 of 140




       The Court also finds that Smith has established by a preponderance of the

evidence that he was a person with Mild Mental Retardation prior to the age of 18,
at the time of the offense, and at the time of the most current psychological

evaluations, consistent with the opinion of Dr. Swanson.



III.   CONCLUSION

       For the foregoing reasons, the Court concludes that the evidence establishes

by more than a preponderance of the evidence that at all relevant times, Joseph
Smith was mentally retarded as defined by the AAMR/AAIDD and the APA.



       Accordingly,

       IT IS ORDERED that a sentence of death may not be imposed as to Joseph
Smith. A trial date shall be set.

       New Orleans, Louisiana, this 23rd day of June, 2011.



                                       _______________________________
                                       HELEN G. BERRIGAN
                                       UNITED STATES DISTRICT JUDGE




                                         116
 Case 2:04-cr-00017-NJB-SS         Document 1630   Filed 06/23/11   Page 117 of 140




                                     APPENDIX A

Additional Findings re: Dr. Swanson’s Adaptive Behavior Assessment

      1. In her report, Dr. Hayes stated that the family members reported that
Smith was “unable” at age 17 “to place local telephone calls, dress himself, operate

small electrical appliances, order a meal at a restaurant, and cut his own meat.”330

That is simply not true.

      a. Placing telephone calls - Dora, Nell and Patricia all gave Smith the

highest rating (“Usually”) to “Makes telephone calls to others, using standard or

cellphone” on the VABS-II.331 On the ABAS-II, both Nell and Patricia answered
“Sometimes When Needed” to the question of whether Smith “Places local

telephone calls” with Nell also circling “Never When Needed” but still not circling
“Is Not Able,”332 and both answered “Sometimes When Needed” to the question of
whether Smith “Finds and uses a pay phone.”333

      b. Dressing himself - Dora, Nell and Patricia all answered “Usually” to the

specific questions of whether Smith correctly buttoned his clothes and connected

zippers on jackets,334 and “Sometimes” on the VABS-II to the question of whether


      330
        Govt. Exh. 42 at 20.
      331
        Deft. Exh. 1B at 38, 68, 110 (Item 24).
      332
        Id. at 89, 132 (Item 8).
      333
        Id. at 90, 133 (Item 12).
      334
        Id. at 36, 66, 108 (Items 28 & 29)
                                          117
 Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11   Page 118 of 140




Smith wore appropriate clothing during wet or cold weather.335 On the ABAS-II,

Nell scored him the highest rank (“Always When Needed”) to the question of
whether Smith “Dresses himself” and also the highest rating on “Puts shoes on

correct feet” and “Buttons his own clothing.”336 Patricia scored him as “Never

When Needed” for “Dresses himself” (but not “Is Not Able”) and “Sometimes
When Needed” on putting his shoes on the correct feet and buttoning his own

clothing.337

      c. Operate small appliances - Dora, Nell and Patricia all gave Smith the

highest score (“Usually”) on the VABS-II for “Use simple appliances.”338 They

each gave him a “Sometimes” on using a microwave for heating, baking or

cooking.339 Dora and Patricia gave him the highest rank of “Usually” for using a
stove for heating, baking or cooking, while Nell said “Sometimes.”340 On the

ABAS-II, Nell marked “Always When Needed” for “Uses small electrical

appliances, for example, a can opener or blender” and Patricia marked “Never

When Needed” but not “Is Not Able.”341 Both Nell and Patricia marked

      335
         Id. (Item 31).
      336
         Id. at 93 (Items 4, 1 & 3 of Self Care).
      337
         Id. at 135a (Items 4, 1 & 3).
      338
         Id. at 37, 67, 109 (Item 9).
      339
         Id. (Item 10).
      340
         Id. (Item 20).
      341
         Id. at 91, 134 (Item 2 of Home Living).
                                          118
 Case 2:04-cr-00017-NJB-SS      Document 1630       Filed 06/23/11   Page 119 of 140




“Sometimes When Needed” for “Operates a microwave oven.”342

      d. Order a meal at a restaurant - All three women gave Smith the highest

ranking of “Usually” on the VABS-II for “Orders a complete meal in a fast-food
restaurant.”343 On the ABAS-II, Nell marked “Sometimes When Needed” for

“Orders his own meals when eating out” and Patricia marked “Never When
Needed,” but again, not “Is Not Able.”344

      e. Cut his own meat - All three women gave Smith the highest rank of

“Usually” on the VABS-II for “Uses sharp knife to prepare food.”345 On the
ABAS-II, Nell marked “Sometimes When Needed” for “Cuts meats or other foods

into bite size pieces” and Patricia marked “Never When Needed” but again, not “Is
Not Able.”346

      Dr. Hayes chose to highlight the least favorable answer from each cluster,
ignoring all the contrary positive responses, and then arbitrarily downgraded the
occasional “Never When Needed” to an “Is Not Able.” This indicates not only a

lack of accuracy but also an inappropriate advocacy on the part of an expert who

should report the findings objectively. The Court also finds it disturbing because


      342
        Id. (Item 1 of Home Living).
      343
        Id. at 39, 69, 111 (Item 25).
      344
        Id. at 90, 133 (Item 1 of Community Use).
      345
        Id. at 37, 67, 109 (Item 19).
      346
        Id. at 94, 136 (Item 19 under Self-Care).
                                        119
 Case 2:04-cr-00017-NJB-SS     Document 1630      Filed 06/23/11   Page 120 of 140




the sweeping remark appeared in her final report, while the evidence to the contrary

could only be gleaned by a painstaking analysis of the underlying data, making her
misrepresentation all the more misleading.347

      2. The government claims that individual responses of the two sisters on the

ABAS-II were inconsistent, because on some questions one sibling answered

“Always When Needed” and the other sibling “Never When Needed” to the same
question.348 Out of 239 questions that both of them answered, this happened a total

of 7 times, or in less than 3% of all the questions. This is a remarkably low number

considering that two different siblings–one older, one younger–are retrospectively
evaluating their brother from their own unique perspectives. As Dr. Swanson

testified, even on those very rare occasions where their answers were “Always
When Needed” versus “Never When Needed,” the person saying “Never When

Needed” was not saying he could not perform the behavior, but rather the two

disagreed on how many reminders or prompts he needed to get it done.349

      Dr. Hayes and the government likewise referenced similar disparities in



      347
         Dr. Swanson carefully dissected each of Dr. Hayes’ specific contentions
on direct examination, as outlined above. When Dr. Hayes testified later, she
modified her position to saying that the family reported Smith was “unable to
consistently do certain things,” still mis-speaking as to “unable” but adding
“consistently” to back away from her statement in her report. Rec. Doc. 1584 at
412.
      348
        Rec. Doc. 1583 at 260-61.
      349
        Id. at 265-66.
                                        120
 Case 2:04-cr-00017-NJB-SS       Document 1630     Filed 06/23/11   Page 121 of 140




answers on the VABS-II.350 Unlike the ABAS-II which is self-administered, Dr.

Swanson actually completed the VABS-II through conversation with the
respondent. She remembered that Patricia, who was younger than Smith, was

particularly struck by the things that she was able to do but her older brother could

not. In fact, even though younger, she tutored him in his school work.351 The

government was also critical, as inconsistent, when the answers between the
respondents were only a one level difference, claiming they are describing “a much

different individual.”352 However, the various rating levels are not abruptly distinct,
but rather are transitional. On the VABS-II, for instance, Level 0 is “Never”; Level

1 is “Sometimes or Partially,” and Level 2 is “Usually.” While Dr. Hayes
conceded that different respondents will not produce the same exact data, she

testified that too many inconsistencies existed in the answers.353 The Court does not
agree. As set forth in the main body of this opinion, the majority of responses on

both the VABS-II and the ABAS-II were identical, and the vast majority of the
remainder just a one level difference.

      3. Some government claims of inconsistencies resulted from a lack of

understanding of Dr. Swanson’s notes on the VABS-II. For example, after
erroneously stating that Patricia scored Smith a “0" on preparing food that required

      350
        Id. at 266-67; Rec. Doc. 1584 at 414-15, 419-20.
      351
        Rec. Doc. 1583 at 267-68.
      352
        Id. at 263; Rec. Doc. 1584 at 422.
      353
        Rec. Doc. 1584 at 415.
                                          121
 Case 2:04-cr-00017-NJB-SS        Document 1630   Filed 06/23/11   Page 122 of 140




mixing (she actually scored a “1"),354 the prosecution challenged Dr. Swanson’s

note on the next page that said Smith could make red beans, rice and gumbo.355 Dr.
Swanson explained that as she interviewed the individuals, she would gather
information in general about what Smith was capable of doing throughout his life,

in order to find out the best he ever achieved in adulthood, such an eventually being

able to make red beans and rice, and that information would be in her notes.

However, with regard to any specific questions on the VABS-II, she would ask the
respondent to focus on what Smith was capable of doing at age 17, and only use

that response for her score.356

      In another instance, the prosecution criticized Dr. Swanson for allegedly
inconsistent answers within Nell’s VABS-II. In answering the question of whether
Smith had a best friend, Nell scored a “2" or “Usually” and told Dr. Swanson that

Smith’s older brother, Alfred, was his best friend.357 Dr. Swanson elaborated that

Smith idolized Alfred, that he was more than a brother and they went everywhere

together.358 On another question about whether Smith went places with “friends
during the day without adult supervision (for example, to a shopping mall, park,

community center, etc.), Nell likewise scored him a “2" for “Usually.” However,

      354
         Deft. Exh. 1B at 109 (Item 21).
      355
         Rec. Doc. 1584 at 292-93.
      356
         Id. at 293; see also Rec. Doc. 1583 at 272-75; 278-79.
      357
         Def. Exh. 1B at 70 (Item 20).
      358
         Rec. Doc. 1584 at 300.
                                           122
 Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 123 of 140




on the question of whether he met with friends regularly, Nell scored a “0" for

“Never,” noting that he did not have “real friends.”359 In the context of the
questions, and with the aid of Dr. Swanson’s notes, the Court does not find an
inconsistency. Clearly, according to Nell, Smith did not have real friends other

than his devotion to his best friend, his brother Alfred, so there were no “friends” to

meet with regularly. Clearly, also, she felt at age 17, he was capable of going to a

shopping mall or a park with others “without adult supervision.”360

      4.     Another government criticism was that some individual answers were

simply implausible. For example, Patricia answered “Never” to the ABAS-II
question whether Smith tied his own shoes.361 The prosecutor interpreted that to

mean that he knew how to do it, but just “sat there and made somebody else do it.”

Dr. Swanson pointed out that it did not necessarily mean that, but that it could mean
he simply walked around without bothering to tie his shoes or that he tucked the

laces into his shoes.362 Dr. Hayes particularly singled out Patricia’s answers as
implausible, and concluded she was trying to help her brother by presumably

exaggerating his deficits.363 For instance, she cited Patricia’s response of “Never
When Needed” to the ABAS-II question whether Smith could name twenty or more

      359
           Deft. Exh. 1B at 71 (Item 29).
      360
           See also Rec. Doc. 1584 at 300-01.
      361
           Deft. Exh. 1B at 135a (Item 8 of Self-Care).
      362
           Rec. Doc. 1583 at 262-63.
      363
           Rec. Doc. 1584 at 422-423.
                                            123
 Case 2:04-cr-00017-NJB-SS         Document 1630   Filed 06/23/11   Page 124 of 140




familiar objects.364 Having observed in the taped interview the difficulty Smith had

as a man in his 50's had in answering even single questions, Patricia’s observation
from a far earlier developmental period is not surprising to the Court. Dr. Hayes

interpreted the answer as meaning Patricia thought Smith had fewer than twenty

words in his vocabulary. This Court construes the answer as Patricia’s recognition
that Smith needs considerably prompting before he could name, out of his head, 20

or more objects on his own. At another point, the prosecutor made a sweeping

statement regarding what Smith “can’t” do, according to his family members,
declaring that “you literally would have to push (him) around in a chair...” Dr.
Swanson reminded him that none of the respondents ever said he “can’t” do any

behavior, the distinction was in how many times he had to be reminded or prompted
to do it.365

       5. Dr. Hayes and the government also tried to show inconsistencies by
making inappropriate comparisons between the VABS-II and ABAS-II scores and
how Smith performed past the age of 17 as an adult, completely ignoring the

difference in ages. An important aspect of diagnosing mental retardation is

determining when a skill is learned, and how long it takes for the person to finally
master it.366 For example, Dora and Patricia answered “Never” to the VABS-II



       364
          Id. at 422.
       365
          Rec. Doc. 1583 at 269.
       366
          Rec. Doc. 1530, tab 2 at 624, 667; Rec. Doc. 1536.
                                          124
 Case 2:04-cr-00017-NJB-SS       Document 1630    Filed 06/23/11   Page 125 of 140




question whether Smith, at age 17, “Seeks medical care in an emergency.”367 Dr.

Hayes then sought to undermine those answers by comparing it to an emergency
room admission sought by Smith in 2000, some thirty-two years later.368 That is

comparing apples with oranges. The government tried to undermine a score of
“Never” VABS-II answers that Patricia gave Smith for “Edits or corrects own

written work before handing it in” with Dr. Swanson’s observation that during her

evaluation of Smith in 2006, he would often self-correct in order to get a higher
score.369 Again, Patricia’s ranking were based on Smith’s capabilities at age 17, and
both Dr. Swanson’s and Dr. Hayes’ interviews were held when Smith was in his

50's. Similarly, on the ABAS-II, Nell answered “Never When Needed” to “Says
irregular plurals nouns,” and then the prosecutor cited passages in Dr. Hayes’

interview with Smith where he used proper plurals.370 Dr. Swanson noted again
that the sisters were rating him at age 17 and Dr. Hayes interviewed him in his

50's.371 Dr. Hayes conceded that language develops after the age of 17 and
vocabularies increase.372 As noted earlier, the mildly mentally retarded were
previously described as “educable” which indicates that improvement in adaptive

      367
        Deft. Exh. 1B at 36, 108 (Item 38).
      368
        Rec. Doc. 1584 at 420.
      369
        Deft. Exh. 1B at 106; Rec. Doc. 1584 at 306.
      370
        Deft. Exh. 1B at 89.
      371
        Rec. Doc. 1583 at 276.
      372
        Rec. Doc. 1585 at 570.
                                         125
 Case 2:04-cr-00017-NJB-SS        Document 1630      Filed 06/23/11    Page 126 of 140




behavior can well be expected. It is completely inappropriate to use later learned

skills to contradict the reliability of scores based on earlier capabilities.

      6. The government also contended that some of Smith’s behaviors were the

result of cultural norms rather than diminished capacity to perform, citing how in
some households, the men never wash, clean, cook or pick up after themselves. Dr.

Swanson acknowledged that in the Smith home growing up, the women did those

tasks, but pointed out the question asks only if the person can do it, and if so, does
he need prompting or reminders to do it.373 While the Court finds the cultural

context to be relevant, it also notes that domestic chores are a very small subset of

the VABS-II and ABAS-II. Additionally, from Nell, Smith received either
“Always When Needed” or “Sometimes When Needed” on fifteen of the twenty-
three ABAS-II items in the Home Living section that covered those type chores.

Patricia gave scores of “Sometimes When Needed” on eleven, and a “Never When
Needed” on twelve,374 indicating that Smith did in fact at times do household

chores.




      373
          Rec. Doc. 1584 at 297-98.
      374
          Deft. Exh. 1B at 91-92, 134-35.
                                            126
 Case 2:04-cr-00017-NJB-SS        Document 1630   Filed 06/23/11   Page 127 of 140




                                     APPENDIX B

Additional Examples re: Dr. Hayes Interview

      The Court notes the following additional examples of interview answers from
Smith that should have been addressed by Dr. Hayes:

      1. When Smith was asked about tattoos on the video, he identified several
that he has, but then paused when describing where one of them was, apparently

searching for the word “arm.”375

      2. When he was asked if he was “close to, real close to” anyone besides his

mother growing up, like a grandparent, he mentioned his grandmother on his
father’s side. He then stated that she died when he was three or four years old and

he did not really remember her. He obviously was not close to her.376

      3. When Smith disclosed that his sister was arrested for forgery, Dr. Hayes
properly asked him what he meant by that term. Smith then inaccurately described
forgery as “bouncing checks, writing checks that was insufficient and she couldn’t

cover.”377

      4. When Smith was asked to spell his sister Patricia’s name, he said he did

not know. Dr. Hayes then spelled it for him.378

      375
         Deft. Exh. 5 at 6.
      376
         Id. at 20.
      377
         Id. at 31; see also id. at 33.
      378
         Id. at 34.
                                          127
 Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 128 of 140




      5. When Dr. Hayes asked him about the medical history of his mother’s side

of the family, Smith told her that his grandfather had “mental problems” and he
was sent to “Jackson” where379 he died, presumably referring to East Feliciana State

Hospital, a mental hospital in Jackson, Louisiana. Dr. Hayes then asked him “what
about any psychiatric or mental health difficulties on either side of your family,”

then lists another string of mental health conditions, such as depression, anxiety,

bad nerves, schizophrenia, and anybody trying to commit suicide. She apparently
had not heard what he had just said about his grandfather. Smith then inexplicably
answered “No, not that I’m aware of.”380 Dr. Hayes and Dr. Thompson should
have realized Smith had just contradicted himself and they should have at least

sought clarification. What the Court surmises is that in the string of mental health
conditions Dr. Hayes listed, Smith probably only registered the last one–suicide
attempts–and was answering that specific question only.

      6. Dr. Hayes asked Smith to think back on his childhood and tell her what
kinds of things he was interested in or liked to do. Nearly a full 30 seconds passed

as Smith obviously struggled to remember. Then Dr. Hayes prompted him by

asking him about riding a bike or hanging out with friends. With that prompting,




      379
         In the transcript, the word “where” is erroneously recorded as “why.”
"Where" is what Smith actually said on the recording. Id. at 40, disc 2 at 2
minutes.
      380
        Id. at 40-41.
                                         128
 Case 2:04-cr-00017-NJB-SS       Document 1630      Filed 06/23/11      Page 129 of 140




he remembered playing street ball.381

      7. After Smith told Dr. Hayes about a best friend from his childhood named

Stanley, Dr. Hayes asked him if he had any best friends after that. Smith had to

think for nearly 30 seconds before coming up with another name.382

      8. Dr. Hayes asked Smith who was closest to him now. Smith asked if she

meant a friend and she said friend or family member. He hesitated and then asked

“outside my moms?” She said sure but he continued to pause. Dr. Hayes then
asked him, “Who knows you better than anybody else, who would you confide in?”
Smith still did not understand the question, and asked, “You mean, for my sisters

and brothers, outside my mother?” She told him, “Really, anyone.” And then he
finally said his mother, and after his mother, his brother Alfred.383

      9. Dr. Hayes asked Smith when he moved back to New Orleans, how long
did he stay there. A full 30 seconds passed with Smith unable to answer. She then
changed the subject to what jobs he had.384

      10. When talking about his childhood schooling, Smith told Dr. Hayes that

he had trouble in school, that he was “always slow about comprehending,” and




      381
         Id. at 45.
      382
         Id. at 52.
      383
         Id. at 52-53.
      384
         Id. at 76.
                                          129
 Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 130 of 140




needed extra help, particularly with reading, spelling and math.385 Dr. Hayes did

not probe any of these deficiencies in any more detail. This was relevant to the
adaptive behavior subdomain of Functional Academics.

      11. Smith told Dr. Hayes about a work incident where he fell off a ladder
and badly injured his wrist. He went to a hospital where a cast was put on his

hand. Dr. Hayes asked him if he had to do physical therapy and Smith told her he

did not finish the therapy and furthermore, removed the cast himself after a period
of time.386 This failure to heed medical advice was relevant to both the Daily

Living Skills and the Health and Safety subdomains of adaptive behavior.

      12. In connection with the same accident, Dr. Hayes asked Smith if he filed
a workers’ compensation claim. Smith said no, and that he was tricked out of

doing so by his employer. Acquiescence and gullibility are characteristics of the
mildly mentally retarded.387

      13. Smith told Dr. Hayes that when he went to apply to work at the Brown

& Root Shipyard as a welder, he failed the welding construction test three times

before finally passing. This was after he had been in welding training programs in

the Job Corps, in the U.S. Navy, in prison and in community college, and after
purportedly working for a year as a welder. This was relevant to the Work


      385
        Id. at 84-87.
      386
        Id. at 111-12.
      387
        AAIDD 11TH EDITION at 51-52.
                                        130
 Case 2:04-cr-00017-NJB-SS        Document 1630   Filed 06/23/11   Page 131 of 140




subdomain of the adaptive behavior assessment.388

      14. Dr. Hayes questioned Smith about drug treatment. He said he went to a

program once at Bridge House in New Orleans but he did not complete the

treatment. This failure to complete treatment was relevant to the both the Daily
Living Skills and the Health and Safety subdomains of the adaptive behavior

assessment.




      388
        Deft. Exh. 5 at 124-26.
                                         131
 Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11    Page 132 of 140




                                   APPENDIX C

Additional Findings re: Dr. Hayes’ Adaptive Behavior Assessment

      The following are most of the adaptive behaviors listed in Dr. Hayes’ expert
report which she contends supports a finding that Joseph Smith is not mentally

retarded. The few that are not listed are discussed independently in other parts of

this opinion. Furthermore, during her trial testimony, Dr. Hayes cited numerous

additional examples under the various subdomains.389 The Court has reviewed
those additional examples and found them all to be within the capacity of a person

with Mild Mental Retardation.

      Those items that the Court has concluded are within the capacity of a person

with Mild Mental Retardation are noted with an “A.”

      Those items that the Court has concluded are within the capacity of a person
with Mild Mental Retardation who has been provided structural support are noted

with a “B.”

      Those items which the Court has concluded are beyond the competence of the
correctional officers to assess are noted with a “C.”

      For the reasons stated in the text of this opinion these items are irrelevant to

the consideration of whether Joseph Smith is a person with Mild Mental
Retardation.



      389
        Rec. Doc. 1584 at 457-88.
                                          132
 Case 2:04-cr-00017-NJB-SS        Document 1630     Filed 06/23/11   Page 133 of 140




                            COMMUNICATION390

C              All correctional officers noted Mr. Smith’s communication skills were
               within normal limits;

A,B            Mr. Smith wrote multiple requests for attention to his health care
               needs, and while those had grammatical and spelling errors, they were
               successful at communicating his needs, indicating he was successful at
               written communication despite his written language limitations;

A,B            Mr. Smith followed up on unmet health care requests, providing
               approximate dates for when the prior request was issued;

A              Mr. Smith discussed his legal expectations with a former cellmate;

A              Mr. Smith was overheard by correctional officers discussing a topic of
               interest (i.e. women) with another inmate;

A              Mr. Smith conversed with a correctional officer about sports;

A              Mr. Smith is noted to converse with other inmates;

A              Mr. Smith informed the examiners of his favored activities and relayed
               stories from his past; and

A,B391         Mr. Smith accurately completely [sic] a grievance report related to a
               deputy handcuffing him too tightly.

                            COMMUNITY USE392


         390
           Govt. Exh. 42 at 28; see also Rec. Doc. 1584 at 457-62.
         391
           Gov. Exh. 42 at 29
         392
           See also Rec. Doc. 1584 at 462-63.
                                           133
 Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 134 of 140



A,B          Mr. Smith signed up for and went to the law library at the St. Charles
             Parish Jail;

A            Mr. Smith could certainly walk or ride a bike to locations within a one
             mile radius;

A,B          Mr. Smith reviews available items for purchase from the commissary,
             indicates what items he would like to purchase on the commissary
             request form appropriately, and inventories the items when they are
             delivered to him. He has questioned the correctional officer
             responsible for the commissary about being shorted on his orders;

A,B          Mr. Smith diligently reviews his commissary account balance and
             budgets his money accordingly;

A,B          Mr. Smith can call a doctor when needed;

A            Mr. Smith was noted to use the telephone to place collect telephone
             calls while incarcerated. Additionally, employment applications list a
             home telephone number, and legal records indicated following an
             arrest, he placed his “one telephone call.”

C393         Correctional officers noted Mr. Smith’s community use was within
             normal limits;

A            During the clinical interview, Mr. Smith relayed the locations of
             several establishments, including the streets where they are located and
             possibly the cross streets and/or nearby landmarks;

A            Mr. Smith had a valid Ohio’s driver’s license, which required his
             answering 30 of 40 questions correctly;

A            Mr. Smith carried identification in the past as evidenced by copies of
             identification and social security cards in various employment files;
             and

       393
         Govt. Exh. 42 at 30.
                                         134
 Case 2:04-cr-00017-NJB-SS     Document 1630     Filed 06/23/11   Page 135 of 140



A,B          Mr. Smith buys stamps from the commissary to mail letters he has
             written to family members.

                         FUNCTIONAL ACADEMICS394

A            Mr. Smith can write his first name and last name, address including zip
             code, telephone number, and prior employers’ contact information as
             evidenced by several employment applications;

A,B          Mr. Smith can read the commissary menu and complete the
             commissary request form appropriately;

C395         Correctional officers noted Mr. Smith’s functional academics
             were within normal limits;

A,B          Correctional officers noted Mr. Smith reads and obeys signs;

A            Employment records indicated Mr. Smith could follow a daily work
             schedule, though at times he did not show up for work and did not call
             his employer to indicate the same;

A,B          Mr. Smith follows the jail schedule without complaint;

A            Mr. Smith has a daily workout routine;

A            John Grisham was noted to be Mr. Smith’s favorite author with his
             favorite book being Runaway Jury; he is often observed by
             correctional officers to be reading in his cell;

A            Mr. Smith plays dominos and cards with other inmates and goes to the
             law library;


       394
         See Rec. Doc. 1584 at 463-66.
       395
         Id. at 31.
                                         135
 Case 2:04-cr-00017-NJB-SS      Document 1630        Filed 06/23/11   Page 136 of 140



A            Mr. Smith writes letters to family members;

A,B          Although Mr. Smith currently budgets his commissary account
             appropriately, family members indicated he never had a checking
             account, and when he had a savings account, he took all the money out
             quite quickly; and

A            As part of his employment with several agencies, Mr. Smith was
             required to complete several forms including W4's, Employment
             Eligibility Verifications and other agreements and acknowledgment
             forms.

                                HOME LIVING396

C397         Correctional officers noted Mr. Smith’s home living was within normal
             limits;

A            Mr. Smith correctly described to the current examiners how to clean a
             bathtub, cook smothered chicken and make a roux, though he indicated
             “kitchen bouquet” was often used now to color gravies;

A            Mr. Smith had a tool box in the past;

A            Correctional officers have observed Mr. Smith cleaning his cell with
             paper towels and napkins, as well as washing his cup out; and

A            Correctional officers noted Mr. Smith makes his bed daily and puts
             things away when he is finished using them.

                          HEALTH AND SAFETY398



       396
         See id. at 466-67.
       397
         Id. at 32.
       398
         See id. at 467-69.
                                        136
 Case 2:04-cr-00017-NJB-SS         Document 1630      Filed 06/23/11   Page 137 of 140



A              With the exception of one employment record that indicated Mr. Smith
               did not clean his work area before leaving, no other safety concerns
               were noted in any of the employment files reviewed;

A399           Working as a welder is such that one would have to follow safety rules
               as one works around extremely dangerous objects;

C              Correctional officers noted Mr. Smith’s health and safety were within
               normal limits;

A,B            Mr. Smith’s correctional records are replete with instances of his
               requesting medications, providing his medical history, etc.
               (The specific instances are not recorded here but can be found at Govt.
               Exh. 42 at 33-40); and

A400           A correctional officer has observed Mr. Smith swallow his medications
               routinely.

                                   LEISURE401

A,C402         Correctional officers noticed Mr. Smith’s leisure skills were
               within normal limits. They have observed him reading, working out,
               listening to his Walkman, playing cards with other inmates and playing
               dominos. They have also observed him conversing with other inmates
               and guards, and he watches television;

A              Mr. Smith endorsed enjoying reading books, staying fit, writing to
               family members, and playing basketball;



         399
           Id. at 33.
         400
           Id. at 40.
         401
           Id. at 40; see also id. at 469-71.
         402
           Id. at 41.
                                                137
 Case 2:04-cr-00017-NJB-SS        Document 1630   Filed 06/23/11   Page 138 of 140



A           Mr. Smith described having best friends as a youth and has maintained
            acquaintances for many years; and

A           Legal records indicated Mr. Smith was associating with friends when a
            crime occurred (bodily injury conviction in Texas in 1996).

                         SELF-CARE403

A           Correctional officer noted all of the above skills were within normal
            limits. They indicated if an inmate has a problem with hygiene, other
            inmates will quickly tell them. Furthermore, they described that Mr.
            Smith was quite neat;

A           The examiners noted Mr. Smith to be well groomed, displaying good
            personal hygiene;

A,B         Mr. Smith completes requests for haircuts and his commissary account
            reflects purchases of toothpaste, lotion, soap, aftershave, batteries,
            stamps; and

A           Mr. Smith diligently works out daily, walking around the pod and
            doing multiple repetitions of resistance exercises.

                         SELF-DIRECTION404

C           Correctional officers noted Mr. Smith’s self-direction was within
            normal limits;



      403
        See also id. at 471-72.
      404
         Govt. Exh. 42 at 42; see also Rec. Doc. 1584 at 472-75. In her testimony,
Dr. Hayes cited the fact that Smith was aware that taxes were charged on his
commissary account and that people file income taxes at the end of the year. Rec.
Doc. 1584 at 474. Considering Smith’s long history of multiple jobs, the Court
finds this knowledge to be within his realm of understanding, even if mildly
mentally retarded.
                                         138
 Case 2:04-cr-00017-NJB-SS      Document 1630      Filed 06/23/11   Page 139 of 140



A            Marshals indicated Mr. Smith is quite vigilant;

A            Prior to his incarceration, Mr. Smith certainly went out alone in the
             daytime;

A,B          Correctional officers noted that when requested to do so, he stops
             whatever activity he is doing and goes to his cell without displaying
             any anger or untoward behavior;

A            Mr. Smith was noted by a correctional officer to tell a lie in an attempt
             to get what he wanted;

A,B          Mr. Smith independently chooses his commissary items;

A            Mr. Smith had the capacity to arrive at work in a timely fashion;

A            One employment record indicated Mr. Smith’s employment was
             terminated for insubordination; and

A            Records indicate Mr. Smith chooses an activity and plans accordingly.

                                SOCIAL405

C406         Correctional officers noted Mr. Smith’s social skills were within
             normal limits, with his being polite to them and other inmates;

A            During the current evaluation, Mr. Smith was judged to be polite and
             friendly;

A            Mr. Smith presumably has good relationships with his family
             members, including his mother, sisters, brother and cousin;


       405
         See Rec. Doc. 1584 at 475-77.
       406
         Id. at 43.
                                         139
 Case 2:04-cr-00017-NJB-SS      Document 1630     Filed 06/23/11   Page 140 of 140



A            Mr. Smith does not show good judgment in his selection of friends
             and/or acquaintances. For example, Mr. Smith was noted to be with
             John Johnson during a 1974 armed robbery and during the index
             crime; and

A,B          Jail incident reports indicated Mr. Smith can recognize others emotions
             and act accordingly (i.e. back off when another individual stands up to
             him).

                                WORK407

A            (Mr. Smith’s work history is summarized with his various job skills
             detailed. Separately, in this opinion, the Court has concluded that his
             work history is consistent for a person with Mild Mental Retardation;
             including his skills as a “tacker”);

A408         Employment records indicate Mr. Smith did not show up to work at
             times and was fired. He was also fired once for insubordination.
             Another write-up related to his not cleaning up his work space;

A            Nevertheless, Mr. Smith had the capacity to attend work regularly
             (when not using drugs);

A            No safety concerns were indicated in the employment records
             reviewed; and

A            At one point, Mr. Smith earned approximately $14.00 in regular pay
             and $19.50 per hour in overtime pay.




       407
         See id. at 477-88.
       408
         Id. at 44.
                                         140
